Case 8:23-cv-00268-WLH-DFM   Document 196-1   Filed 03/21/25   Page 1 of 26 Page
                                 ID #:20600




                  EXHIBIT A
 Case 8:23-cv-00268-WLH-DFM                     Document 196-1           Filed 03/21/25
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                                                  Page 2 of 26 Page
                                                    ID #:20601

                                                                and goods in ocean cargo shipping containers. Only two
                     2025 WL 870383                             companies ship these containers between the mainland United
      Only the Westlaw citation is currently available.         States and Guam: the plaintiff in this case, American
     United States District Court, District of Columbia.        President Lines (APL), and the defendant, Matson Navigation
                                                                Company, Inc. (Matson). These rivals compete fiercely
              AMERICAN PRESIDENT                                on multiple fronts. Here, APL filed suit claiming that
             LINES, LLC, et al., Plaintiffs,                    Matson has violated Section 2 of the Sherman Act by
                         v.                                     abusing its dominant position in the U.S.-Guam shipping
                                                                market. Matson has done so, APL asserts, through an array
            MATSON, INC., et al., Defendants.
                                                                of anticompetitive conduct, including disparaging APL to
                   Case No. 21-cv-2040 (CRC)                    customers; threatening retaliation against customers who ship
                                |                               with APL; unfairly locking in its Guam customers through
                        Filed 03/19/2025                        exclusionary loyalty programs and long-term contracts;
                                                                offering APL capacity on its Guam-based vessels in order to
                                                                force APL out of the market; and refusing to provide services
                                                                to APL in Alaska, where both companies also operate.
                  MEMORANDUM OPINION

CHRISTOPHER R. COOPER United States District Judge              In September 2022, the Court largely denied Matson's motion
                                                                to dismiss APL's claims, concluding that APL had plausibly
*1 I. Background 2                                              alleged several species of antitrust violations. After protracted
                                                                discovery, however, APL has failed to deliver the goods
  A. Regulatory Background 2
                                                                on its allegations. Without sufficient admissible evidence in
  B. Factual Background 4                                       the record to support a jury finding that Matson engaged in
                                                                conduct that harmed competition in the U.S.-Guam market,
  C. Procedural History 5                                       the Court will now grant summary judgment for Matson. It
                                                                will also dispose of several associated motions filed by both
II. Legal Standards 7                                           sides.

III. Analysis 8
                                                                  I. Background
  A. Cross-Motions for Summary Judgment 8
                                                                   A. Regulatory Background
     1. Monopoly Power in Relevant Market 8                     Shipping between the U.S. mainland and Guam is highly
                                                                regulated. A 1920 federal statute known as the Jones Act
     2. Exclusionary Conduct 18                                 generally permits only American-made and -owned vessels,
                                                                manned by American crews, to transport cargo between any
     3. Attempted Monopolization 56
                                                                two destinations in the United States. 46 U.S.C. § 55102(b);
  B. Remaining Motions 60                                       see id. §§ 12112, 50101(a). But the Act provides an exception
                                                                for Guam. See 46 U.S.C. § 12111(b). Ships carrying cargo
     1. Daubert 60                                              from the U.S. mainland to Guam need only be U.S.-flagged,
                                                                meaning they must be registered in the United States. Id. §§
     2. Motions to Strike 60                                    12103, 12111(a)–(b). That is relevant here because APL is a
                                                                subsidiary of the French shipping and logistics conglomerate
IV. Conclusion 61                                               CMA CGM, so it is foreign owned.

The small island of Guam is the westernmost U.S. territory.     In addition, some commercial vessels that service American
It sits virtually alone in the Pacific Ocean, some 4,000        ports are eligible for government subsidies through the
miles beyond Honolulu and 2,500 miles from Tokyo and            Maritime Security Program (MSP), which is administered
Manilla farther asea. Due to the island's size and isolation,   by the U.S. Maritime Administration. That program aims to
Guam's 170,000 residents receive almost all their food          maintain “a fleet of active, commercially viable, militarily


                  © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                         1
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                           Filed 03/21/25          Page 3 of 26 Page
                                                     ID #:20602

useful, privately owned vessels to meet national defense and      to comprise up to 20% of the U.S.-Guam market by volume.
other security requirements and maintain a United States          Oral Arg. Tr. 40:23–25 (estimate by counsel for APL).
presence in international commercial shipping.” 46 U.S.C.
§ 53102(a). In exchange for assisting the United States in        Today, Matson is the dominant firm in the market, handling
times of war or other emergencies, the government provides        roughly 70% of shipping volumes. See Oral Arg. Tr. 112:11–
substantial financial payments to owners and operators of         12. The parties offer starkly different explanations for
MSP vessels. See Am. Compl. ¶ 32; 46 U.S.C. § 53106(a); see       Matson's preeminence. Matson attributes it to the company's
generally id. §§ 53101–53111. Prior to 2018, ships enrolled       superior service and business model. Matson's rates tend to be
in the MSP could call on Guam and other U.S. territories,         higher than APL's, but the record confirms that its service is
no matter their nationality or ownership. In 2018, however,       usually faster and its delivery times are more reliable. See WB
Congress amended the MSP to prohibit new entrants to              Rpt. ¶¶ 22–25. 1 Matson's vessels are also fully compliant
the program from operating between the United States and          with the Jones Act, so they call on Hawaii en route to Guam.
its territories. 46 U.S.C. § 53105(a)(2). Vessels that were       Customers who ship to both destinations can therefore work
enrolled in the MSP prior to that year were grandfathered in      with just one carrier.
and could keep servicing Guam. See id. § 53105(a)(2), (f).
APL has two vessels registered in the MSP that call on Guam       APL retorts that Matson maintains its dominance not by
from U.S. ports. See Defs.’ Summ. J. Ex. (DSJ) 13 (Expert         offering better service but by engaging in unfair and
Report of Dr. Frederick Warren-Boulton (WB Rpt.)) ¶ 15;           anticompetitive business practices. The Court will elaborate
Defs.’ Stmt. of Uncontested Fact (DSUF) ¶ 37; APL Resp. to        on APL's allegations as they become relevant. In short,
DSUF ¶ 37.                                                        however, APL claims that Matson has:

                                                                       • disparaged APL with customers, particularly by telling
   B. Factual Background                                                  them that APL would soon lose its MSP subsidies and
 *2 Congress's 2018 prohibition of future MSP vessels                     thus have to leave the market;
servicing Guam left only Matson and APL with ships that
carry cargo containers between the U.S. mainland and Guam.             • created customer loyalty programs that forced shippers
APL entered the market in 2015 when it enrolled its first                 to use Matson exclusively;
vessel in the MSP. Its second MSP vessel followed in 2016.
See WB Rpt. ¶ 15. Before APL's entry, Matson had been                  • locked up key customers with restrictive long-term
the lone shipper in the market following the departure of a               contracts;
previous competitor, Horizon Lines, in 2011.
                                                                       • sought to punish APL by terminating long-running
                                                                          partnerships the two companies had in Alaska in
Container vessels bound for Guam from the U.S. mainland
                                                                          response to APL's entry into the U.S.-Guam market;
depart from three ports on the west coast: APL and Matson
both ship from Los Angeles and Oakland; Matson alone                   • lobbied Congress to end APL's payments under the
ships from Seattle. See WB Rpt. ¶¶ 20–21; DSJ 110 at                      MSP; and
16 (internal APL document depicting westbound service
from Los Angeles and Oakland). The market is further                   • offered APL capacity on its U.S.-Guam vessels in an
segmented by product: Fresh food is transported in “chilled”              effort to force APL out of the Guam market.
containers, frozen food in “frozen” containers, and non-
                                                                  See Am. Compl. ¶¶ 39–77.
perishable products in “dry” containers. See WB Rpt. ¶¶ 29–
30; DSJ at 3. Matson serves all three product segments; APL
handles dry and frozen cargo but very little chilled cargo. See     C. Procedural History
WB Rpt. ¶ 49; Am. Compl. at 14 n.6; DSJ 5 (Expert Report          APL filed this suit on July 28, 2021, against Matson, Inc.,
of Dr. Ashley Langer (Langer Rpt.)) ¶ 117 & Ex. 9. Finally,       and two of its subsidiaries. The amended complaint advances
the market consists of both private and U.S. government           two claims for monopolization and attempted monopolization
customers. See WB Rpt. ¶¶ 8, 10; Oral Arg. Tr. 47:22–23           under Section 2 of the Sherman Act.
(APL's expert stating that “the government is in the overall
market”). Due to the U.S. military's substantial presence on
the island, shipments for government customers are estimated


               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            2
 Case 8:23-cv-00268-WLH-DFM                     Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                          Filed 03/21/25           Page 4 of 26 Page
                                                    ID #:20603

 *3 Matson moved to dismiss for failure to state a claim.
The Court largely denied Matson's motion, holding that APL          II. Legal Standards
had plausibly alleged both monopolization and attempted-        To prevail on a motion for summary judgment, the moving
monopolization claims under several theories. See Am.           party bears the burden of demonstrating “that there is no
President Lines, LLC v. Matson, Inc., 633 F. Supp. 3d           genuine dispute as to any material fact and [that it] is entitled
209, 235 (D.D.C. 2022). The Court did dismiss Matson            to judgment as a matter of law.” Fed. R. Civ. P. 56(a);
Navigation's parent company, Matson, Inc., as a defendant,      see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48
finding that APL had not attributed any illegal conduct         (1986); Holcomb v. Powell, 433 F.3d 889, 895–96 (D.C. Cir.
specifically to it. Id. at 234. The Court also narrowed         2006). A fact is “material” if it can affect the outcome of the
APL's claims in two respects. First, it held that Matson's      litigation. Holcomb, 433 F.3d at 895; Liberty Lobby, 477 U.S.
lobbying activity surrounding APL's MSP subsidies “cannot       at 248. A dispute is “genuine” if the evidence is such that
be used to support an inference of anticompetitive conduct”     a reasonable jury could return a verdict for the non-moving
because lobbying is shielded from antitrust liability under     party. See Scott v. Harris, 550 U.S. 372, 380 (2007); Liberty
the Noerr-Pennington doctrine. Id. at 232; see United           Lobby, 477 U.S. at 248; Holcomb, 433 F.3d at 895.
Mine Workers of Am. v. Pennington, 381 U.S. 657, 670
(1965) (“Joint efforts to influence public officials do not     In considering a motion for summary judgment, the Court
violate the antitrust laws even though intended to eliminate    must resolve all factual disputes and draw “all justifiable
competition.”). Second, the Court held that because APL         inferences” in favor of the non-moving party. Liberty Lobby,
did not plead a market in Alaska, Matson's conduct there        477 U.S. at 255; see also Mastro v. Pepco, 447 F.3d 843,
“do[es] not constitute a standalone antitrust claim” and is     850 (D.C. Cir. 2006). But the non-moving party's opposition
relevant to this case only insofar as it affected competition   must consist of more than mere allegations or denials; instead,
in the U.S.-Guam market. APL, 633 F. Supp. 3d at 232; see       it must be supported by affidavits, declarations, or other
FTC v. Qualcomm Inc., 969 F.3d 974, 990 (9th Cir. 2020)         competent evidence, setting forth specific facts demonstrating
(“[P]laintiffs are required to prove anticompetitive abuse or   a genuine issue for trial. Fed. R. Civ. P. 56(e); Celotex Corp.
leverage of monopoly power, or a predatory or exclusionary      v. Catrett, 477 U.S. 317, 324 (1986). “[T]he moving party is
means of attempting to monopolize the relevant market.”)        entitled to judgment as a matter of law if the non-moving party
(emphasis added) (quotation marks omitted)).                    ‘fails to make a showing sufficient to establish the existence
                                                                of an element essential to [its] case, and on which [it] will bear
The parties then proceeded through a protracted discovery       the burden of proof at trial.’ ” Eddington v. Dep't of Def., 35
period marked by numerous disputes requiring the Court's        F.4th 833, 836–37 (D.C. Cir. 2022).
intervention. When the chop finally smoothed, Matson moved
for summary judgment on all of APL's claims. See ECF
                                                                  III. Analysis
107 (Matson MSJ). APL opposed and filed a cross-motion
                                                                 *4 The Court begins with the parties’ cross-motions for
for partial summary judgment limited to Matson's alleged
                                                                summary judgment before resolving the remaining motions.
retaliation against APL in Alaska. See ECF 158 (APL MSJ).
The parties also filed dueling motions to exclude opinions
offered by each party's expert witness: APL's expert, Dr.          A. Cross-Motions for Summary Judgment
Frederick Warren-Boulton, and Matson's rebuttal expert, Dr.     To prevail on its Section 2 monopolization claim, APL must
Ashley Langer. See ECF 108 (Matson Daubert Mot.); ECF           prove at trial that Matson (1) possessed monopoly power
147 (APL Daubert Mot.). Each side also moved to strike          in the relevant market and (2) engaged in exclusionary or
declarations filed by the other. Matson sought to strike a      anticompetitive conduct. United States v. Microsoft Corp.,
declaration from Dr. Warren-Boulton offered in response to      253 F.3d 34, 50 (D.C. Cir. 2001) (en banc). To establish
Matson's motion to exclude him. ECF 174-10 at 23. And           its attempted-monopolization claim, APL “must prove (1)
APL moved to strike declarations offered by Matson from         that [Matson] has engaged in predatory or anticompetitive
various of its shipping customers disclaiming knowledge of      conduct with (2) a specific intent to monopolize and (3)
any threats or retaliation by Matson. ECF 153. The Court        a dangerous probability of achieving monopoly power.”
heard argument on all the pending motions on December 10,       Id. at 80 (quoting Spectrum Sports, Inc. v. McQuillan,
2024.                                                           506 U.S. 447, 456 (1993)). As explained below, APL has
                                                                produced enough evidence to create a genuine dispute of



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                             3
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                            Filed 03/21/25           Page 5 of 26 Page
                                                      ID #:20604

material fact as to Matson's market power in the U.S.-             the defendant's product or service.” 2B Phillip E. Areeda
Guam container cargo shipping market. But it has not offered       & Herbert Hovenkamp, Antitrust Law, ¶ 530(a) (4th ed.
evidence sufficient for a jury to infer that Matson engaged in     2014) (citation omitted). Accordingly, the relevant product
anticompetitive conduct. The Court will, accordingly, grant        (or service) market is defined as “all products ‘reasonably
summary judgment to Matson and deny APL's cross-motion.            interchangeable by consumers for the same purposes.’ ”
                                                                   Microsoft, 253 F.3d at 52 (quoting E.I. du Pont, 351 U.S.
                                                                   at 395). And the geographic market is “the terrain in which
   1. Monopoly Power in Relevant Market                            competition takes place.” Facebook, 560 F. Supp. 3d at 13
“Monopoly power is the power to control prices or exclude          (quoting Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1071
competition.” United States v. E. I. du Pont de Nemours &          (10th Cir. 2013) (Gorsuch, J.)).
Co., 351 U.S. 377, 391 (1956). A firm therefore has monopoly
power in a relevant market “if it can profitably raise prices       *5 “[T]he process of defining a product market often
substantially above the competitive level.” Microsoft, 253         involves inquiry into economic realities and industry
F.3d at 51. “[P]roof that a ‘firm has in fact profitably’ ”        practice.” Nat'l Aviation Trades Ass'n v. Civ. Aeronautics Bd.,
charged prices above the competitive level is direct evidence      420 F.2d 209, 213–14 (D.C. Cir. 1969). As a result, “[w]hen
of monopoly power. FTC v. Facebook, Inc., 560 F. Supp.             determining the relevant product market, courts often pay
3d 1, 12 (D.D.C. 2021) (quoting Microsoft, 253 F.3d at             close attention to the defendants’ ordinary course of business
51). “Because such direct proof is only rarely available,”         documents.” United States v. H & R Block, Inc., 833 F. Supp.
however, a plaintiff can also prove market power indirectly        2d 36, 52 (D.D.C. 2011); see also FTC v. CCC Holdings, Inc.,
—by showing “a firm's possession of a dominant share of a          605 F. Supp. 2d 26, 38, 41–42 (D.D.C. 2009) (holding that
relevant market that is protected by entry barriers.” Microsoft,   “real-world evidence show[ed] that” products were “not part
253 F.3d at 51.                                                    of the same product market” in part based on “Defendants’
                                                                   internal documents” evaluating “the competitive landscape”);
APL has not produced direct evidence of Matson's monopoly          FTC v. Staples, Inc., 970 F. Supp. 1066, 1075 (D.D.C. 1997)
power after APL entered the U.S.-Guam market in 2015.              (listing “industry recognition” as a factor relevant to defining
While it makes a conclusory assertion that Matson was able to      a submarket).
charge supracompetitive prices even after APL's entry, Pls.’
Stmt. of Undisputed Material Fact (PSUF) ¶¶ 62–63, it fails        APL proposes one overall market—that for container
to back this claim up with any actual evidence or data. Indeed,    cargo shipping services, including both commercial and
when APL's own expert on market definition was asked at his        government shippers, between the U.S. mainland and Guam.
deposition “[w]here in your report do you look at the effect       See APL MSJ at 4; WB Rpt. ¶ 7; Oral Arg. Tr. 45–47. It
of Matson's alleged conduct ... on prices,” he conceded that       rests its market definition on, among other evidence, Matson's
“[i]t's not something I was specifically asked to do.” See DSJ     business conduct and deposition testimony from Matson
354 (Deposition of Dr. Frederick Warren-Boulton (WB Dep.))         witnesses.
at 57:23–58:11. APL resorts instead to indirect evidence that
Matson currently has monopoly power—namely, proof that             The record is replete with evidence that Matson treats U.S.-
Matson has a dominant share of the relevant market that is         Guam container cargo shipping services as a unified market.
protected by barriers to entry. The Court will therefore assess    See PSUF ¶¶ 14–32. For example, Matson's internal business
Matson's alleged monopoly power under this framework.              documents recognize shipping services between the United
                                                                   States and Guam as a market. See PSJ 14 at 23–26 (Matson
                                                                   2018–2020 Operating Plan identifying “Guam Trade” as a
  a. Market Definition
                                                                   “market”); PSJ 15 at 36–4- (Matson 2022–2024 Operating
To begin, APL bears the burden of proving the relevant
                                                                   Plan listing “Guam” as one of its “Commercial Division[s]”);
antitrust market. Neumann v. Reinforced Earth Co., 786 F.2d
                                                                   PSJ 19 at 18, 23–24 (Matson 2012 Operating Plan organizing
424, 429 (D.C. Cir. 1986). An antitrust market “traditionally
                                                                   “Ocean Transportation Business Environment” by services,
has two components: the product market and the geographic
                                                                   including “service from the U.S. to Guam”). Matson also
market.” Sky Angel U.S., LLC v. Nat'l Cable Satellite Corp.,
                                                                   sets corporate objectives specific to this market. PSJ 171
947 F. Supp. 2d 88, 102 (D.D.C. 2013). “To define a
                                                                   at 4 (setting financial goals by trade lane, including that
market is to identify those producers providing customers
                                                                   for Guam); PSJ 172 at 4 (setting objective to “[a]chieve
of a defendant firm (or firms) with alternative sources for


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                             4
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                           Filed 03/21/25          Page 6 of 26 Page
                                                     ID #:20605

75% WB [westbound] market share vs. APL (including                been shipped through Matson's Seattle facility. APL's Guam
           2
Saipan)”). And, in a filing with the Securities and Exchange      trade director submitted a declaration affirming that “APL
Commission, Matson described its business as “ocean freight       currently ships cargo [originating] from the Pacific Northwest
services,” which are organized by destination. PSJ 130 at         to Guam, and has since 2018.” ECF 150 (Theberge Decl.) ¶
2 (Matson 2016 Form 10-K). Relevant here, its “Guam               7. And internal emails and employee testimony indicate that
service” “provides weekly container and conventional freight      Matson faced competition from APL for customers shipping
services ... between the U.S. West Coast and Guam.” Id.           from the Pacific Northwest. PSJ 162 at 6 (email from a
                                                                  Matson account executive for the Pacific Northwest stating
Matson's corporate representative also testified in his           that Matson had “lost a lot of business to APL” on its
deposition that Matson views U.S.-Guam container cargo            Seattle-to-Guam shipping lane); PSJ 58 at 190:18–192:18
shipping services as a distinct market. See DSJ 11 (Matson        (Matson's former Vice President of Pricing acknowledging
30(b)(6) Dep.) at 57:11–23 (when asked whether answers            that customer “saw Oakland as an alternative to Matson's
would differ if questions were about Hawaii rather than           service that would have moved the same” type of cargo
Guam, replying “I think they are different markets”), 130:22–     “to Guam through the Seattle port”). Matson's former Vice
131:19 (testifying that Matson collected separate periodic        President of Pricing also testified that he had “hear[d] from
“market share reports for Hawaii and for Guam”). This             customers ... that the ... Seattle-Tacoma port rate should be
evidence easily creates a question of fact on APL's proposed      adjusted given its differential with the Oakland rate that
market.                                                           APL would have at that time[.]” PSJ 58 at 181:11–16. As a
                                                                  result, Matson would sometimes adjust its prices for Pacific
 *6 Matson mounts three challenges to APL's proposed U.S.-        Northwest customers according to APL's Oakland prices. Id.
Guam market, but all sail off course. First, Matson argues that   at 181:17–25. This evidence suggests that at least some U.S.
APL's U.S.-Guam market definition erroneously excludes            mainland shippers to Guam viewed Matson's service from
goods shipped to Guam from Asia. See Matson MSJ at 36. But        Seattle as “reasonably interchangeable” with APL's service
Matson's Vice President of Pricing testified that Matson rarely   from other west-coast ports. Microsoft, 253 F.3d at 52. As did
looks to Asian carrier rates when setting its U.S.-Guam rates.    Matson. PSJ 58 at 181:24–182:25 (“[P]eople ... could source
DSJ 18 at 29:19–24; see FTC v. Swedish Match, 131 F. Supp.        their cargo from multiple origins.”). The record thus supports
2d 151, 162 (D.D.C. 2000) (concluding that loose leaf tobacco     Seattle's inclusion in the U.S.-Guam market and precludes
was a different market from moist snuff tobacco in part based     entry of summary judgment for Matson on the issue of market
on testimony from industry participants that pricing decisions    definition.
were made independently for the two products). And Matson's
internal documents treat its Asian trades as distinct from        Finally, Matson objects that the proposed U.S.-Guam
its Guam trade. Compare PSJ 14 at 22–25 (Matson 2018–             shipping market is “an improperly defined ‘cluster market’
2020 Operating Plan analyzing Guam trade and its volume           of all shipments from the U.S. to Guam,” which “combines
and rates), with id. at 26–29 (analyzing China trade and its      services ... with far different ‘supply, demand, and
volume and rates); see also PSJ 15 at 2 (listing “Hawaii,”        competitive conditions.’ ” Matson MSJ at 36–37 (quoting
“Alaska,” “Guam,” “China,” “Okinawa,” and “Micronesia”            WB Rpt. ¶¶ 48–49). This assertion is based on the opinion
as different “Commercial Division/Trades”). APL has thus          of APL's market expert, Dr. Warren-Boulton. In addition to
offered sufficient evidence that Asian routes to Guam are         identifying the broader U.S.-Guam market as the relevant
separate markets from U.S.-Guam.                                  one for purposes of APL's Sherman Act claims, Dr.
                                                                  Warren-Boulton pointed to narrower “submarkets” of origin-
Next, Matson contends that APL's proposed geographic              destination-product combinations—e.g., Los Angeles-Guam
market is too broad because it includes shipments to Guam         chilled cargo—“in which to assess particular competitive
from Seattle. Matson MSJ at 37. As noted, Matson ships to         effects.” APL MSJ at 9. Dr. Warren-Boulton's market
Guam from ports in Los Angeles, Oakland, and Seattle. APL         opinions are subject to Matson's motion to exclude under
ships from the first two locations but not Seattle. Matson        Daubert. Id.; Matson Daubert at 33.
asserts that Seattle is not part of the relevant market because
APL chooses not to operate there. Id. But APL introduced           *7 At oral argument, Dr. Warren-Boulton disclaimed using a
evidence that, even though it does not maintain a Seattle         bottom-up approach of combining the twelve cluster markets
port, it still competes for cargo that otherwise would have       to create the overall market. Oral Arg. Tr. 49 (“The overall



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           5
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                            Filed 03/21/25          Page 7 of 26 Page
                                                      ID #:20606

market is not simply collecting up a bunch of clusters ....        in 2017, and 74% in 2018. Id. It then fluctuated around 70%
The overall market is designed for an entirely different           until after the COVID pandemic. Id. ¶ 66 fig. 20. Matson's
purpose.”). APL's briefing similarly argues that Dr. Warren-       own business records validate these figures. For example,
Boulton arrived at the proposed market not by aggregating          Matson's “Guam & SAIPAN Westbound Container Market
these cluster markets but by conducting a version of the           Share Tracking Report” listed Matson's overall market share
hypothetical monopolist test, which defines a market by            as 79.6% in 2017, 73% in 2018, 75% in 2019, and 73.9%
asking whether a hypothetical monopolist in that market            in 2019. APL MSJ at 14 (citing PSJ 45); see also Matson
could impose at least a small but significant non-transitory       Reply at 38 (“Matson's share eroded from 94% in 2016 to 72%
increase in price. APL MSJ at 8–9; see also WB Rpt. ¶¶ 39–         in 2019 and rebounded only with APL's catastrophic Covid-
45.                                                                era service failures.”). Based on this evidence, a jury could
                                                                   reasonably find that, throughout the relevant period, Matson
The Court need not resolve this dispute to conclude that APL       had a market share within the 65% to 80% range generally
has created a question of fact on its market. Even if, as Matson   required by courts to show dominance.
argues, Dr. Warren-Boulton impermissibly grouped these
cluster markets to arrive at his market opinion, his opinion
is not APL's sole proof of its proposed market. Matson's              ii. Barriers to Entry
business conduct and witness testimony, as explained above,        Market share alone, however, is not enough to prove
independently preclude summary judgment for Matson on the          monopoly power—a dominant market share must be
proposed market of U.S.-Guam container cargo shipping.             protected by entry barriers. “Entry barriers are particular
                                                                   characteristics of a market which impede entry by new firms
                                                                   into that market.” Reazin v. Blue Cross & Blue Shield of
   b. Monopoly Power                                               Kan., Inc., 899 F.2d 951, 968 (10th Cir. 1990). They “are
Matson next contends that it is entitled to summary judgment       factors (such as certain regulatory requirements) that prevent
because APL has offered no proof that Matson has monopoly          new rivals from timely responding to an increase in price
power in APL's proposed market. Matson MSJ at 38–40. The           above the competitive level.” Microsoft, 253 F.3d at 51 (citing
Court disagrees: APL has offered sufficient indirect proof of      S. Pac. Commc'ns Co. v. Am. Tel. & Tel. Co., 740 F.2d
Matson's monopoly power through evidence that Matson has           980, 1001–02 (D.C. Cir. 1984)). APL has offered evidence
a dominant share of the U.S.-Guam market and that Matson's         that legal requirements, high startup costs, and Matson's
position is protected by barriers to entry in that market.         reputational advantage impede new entry into the U.S.-Guam
                                                                   cargo shipping market. This evidence is sufficient for a jury
                                                                   to infer that Matson's dominant market share was protected
   i. Market Share                                                 by entry barriers.
There does not appear to be a specific numeric threshold
for dominant market share for purposes of a Sherman Act             *8 Consider first the legal requirements that govern the
claim. But “[c]ourts generally require a 65% market share to       market for container cargo shipping services between the
establish a prima facie case of market power,” Image Tech.         U.S. mainland and Guam. As noted, the Jones Act allows
Servs., Inc. v. Eastman Kodak Co. (Eastman Kodak I), 125           only U.S.-flagged and -owned vessels to transport cargo
F.3d 1195, 1206 (9th Cir. 1997), while the Supreme Court           between U.S. ports, with an exception for sailing to and
has found 80% “sufficient to survive summary judgment.”            from Guam. The upshot: Foreign-owned companies, like
Eastman Kodak Co. v. Image Tech. Servs., Inc. (Eastman             APL, can provide service between the United States and
Kodak II), 504 U.S. 451, 480 (1992); see also Microsoft,           Guam. But, unlike their U.S. competitors (including Matson),
253 F.3d at 54 (accepting that 80% share is predominant and        they cannot do so via an intermediate U.S. port, such as
collecting cases); E.I. du Pont, 351 U.S. at 379–80 (75%).         Hawaii. Compare DSUF ¶ 15, with id. ¶¶ 27, 36, and
                                                                   APL MSJ at 24. The Jones Act thus impedes the ability
APL's expert charts Matson's share of the overall U.S.-Guam        of foreign companies operating U.S.-flagged ships to enter
market over the relevant time period. 3 After Horizon Lines        the U.S.-Guam market by dictating the routes—and thereby
stopped servicing Guam in November 2011, Matson captured           affecting the types of service—they can offer. And the
100% of the market, and it maintained that share until APL         Jones Act bars many vessels from the market altogether.
entered the fray in 2014. WB Rpt. ¶ 63 fig. 19. Following          See PSJ 61 (Department of Transportation Report showing
APL's entry, Matson's share decreased—to 94% in 2016, 82%          that, of the 5,119 privately-owned container ships of 1,000


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            6
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                            Filed 03/21/25          Page 8 of 26 Page
                                                      ID #:20607

gross tons and over as of January 1, 2016, only 23 were            inconsistent with the conclusions that it had to overcome entry
Jones Act eligible). Reflecting this regulatory landscape, a       barriers to do so, and that these barriers might prevent other
2011–2017 Strategic Plan prepared for Matson management            carriers from entering the market should APL be forced out.
described one of the company's business challenges as
“Operating in an Increasingly Restrictive Environmental/           Accordingly, APL has offered enough evidence that legal
Regulatory Environment” and one of its “[t]ransportation           requirements, high initial costs, and Matson's quality
threats” as “challenges to the Jones Act.” PSJ 16 at 5, 10.        reputation present barriers to entry in its proposed market.
                                                                   And, when paired with Matson's dominant market share, these
Moreover, the costs associated with obtaining, preparing, and      barriers create a dispute of material fact as to whether Matson
maintaining the vessels and facilities necessary for serving       has monopoly power in the U.S.-Guam cargo market. Matson
the U.S.-Guam market constitute a “major investment[ ].”           therefore is not entitled to summary judgment on this issue.
Microsoft, 253 F.3d at 56. A 2011 Matson internal document,
for example, estimated that constructing two new ships would
cost some $400 million. PSJ 16 at 22. Matson also faces high          2. Exclusionary Conduct
costs, of course, and “[w]hether costs borne by all market         Evidence of Matson's monopoly power only gets APL
participants should be considered entry barriers is the subject    halfway to port. To survive summary judgment, APL must
of much debate.” Microsoft, 253 F.3d at 56 (comparing              also produce sufficient evidence for a jury to conclude that
sources). But at least some authorities deem “high initial         Matson engaged in exclusionary conduct. At a high level,
investment” to be an entry barrier, even when faced by all         exclusionary conduct is conduct other than competition on
market participants. See Areeda & Hovenkamp ¶¶ 420c, 421b          the merits through which a monopolist acquires or maintains
(citing Kelco Disposal, Inc. v. Browning-Ferris Indus. of Vt.,     monopoly power and harms competition in the relevant
Inc., 845 F.2d 404, 408 (2d Cir. 1988) (“[T]he jury could          market. United States v. Grinnell Corp., 384 U.S. 563, 570–
have found that barriers to entry were ... not at all low” in      71 (1966). “Whether any particular act of a monopolist
part because “there was evidence that the cost of entering the     is exclusionary, rather than merely a form of vigorous
market exceeded $300,000.”)).                                      competition, can be difficult to discern.” Microsoft, 253
                                                                   F.3d at 58. To draw that fine distinction, courts balance
Finally, an incumbent's strong reputation can be a barrier         the challenged conduct's anticompetitive effects against its
to entry. See, e.g., U.S. Philips Corp. v. Windmere Corp.,         procompetitive benefits. Id. at 58–59. The guiding inquiry is
861 F.2d 695, 703 (Fed. Cir. 1988) (finding “the need to           whether the allegedly exclusionary conduct “has little or no
have a well-known brand with wide consumer acceptance”             value beyond the capacity to protect the monopolist's market
to be a substantial entry barrier in the rotary electric           power[.]” Novell, 731 F.3d at 1072 (Gorsuch, J.).
shaver market). In its briefing, Matson extols its positive
reputation as an explanation for its success in the market. See,    *9 As previously noted, APL alleges that Matson engaged
e.g., Matson MSJ at 6–7 (“Customers rave about Matson's            in six forms of exclusionary conduct: (1) threatening and
‘superior customer service’ and its ‘awesome staff.’ ” (first      retaliating against Guam shippers and local truck delivery
citing DSJ 56 at 7; and then citing DSJ 53 at 6)). And             companies that do business with APL; (2) retaliating against
its internal documents tout its “brand identity” as one of         APL in Alaska, where both companies operate; (3) making
its “[t]ransportation [s]trengths.” PSJ 16 at 7. If Matson's       disparaging comments to customers regarding APL's MSP
reputation is as strong as it suggests, then it could plausibly    subsidies; (4) locking in shippers through customer loyalty
prevent competitors from gaining a foothold in the market.         programs; (5) entering into allegedly restrictive agreements
                                                                   with key customers; and (6) offering cargo capacity or “slots”
Matson's main retort—that APL's ability to enter the market        on Matson's ships to APL conditioned on APL leaving the
proves that there are no entry barriers—is adrift of the mark.     Guam market. APL has not produced sufficient evidence to
The D.C. Circuit effectively rejected a similar argument in        show that any of this alleged conduct was exclusionary.
Microsoft: “That some developers write applications for other
operating systems is not at all inconsistent with the finding      Before plumbing these varied allegations, the Court will
that the applications barrier to entry discourages many from       first address a threshold dispute: whether it should consider
writing for these less popular platforms.” 253 F.3d at 55.         all this conduct together or analyze it piece by piece.
Here, too, APL's ability to enter and gain market share is not     Concluding that binding D.C. Circuit precedent requires



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            7
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                             Filed 03/21/25           Page 9 of 26 Page
                                                      ID #:20608

the latter approach, the Court will proceed to analyze each        had acted anticompetitively by raising the wholesale price of
allegation of anticompetitive conduct separately.                  inputs sold to its competitors and lowering the retail price of
                                                                   the finished product made with those inputs. Id. Rather than
                                                                   treat the claim as one form of anticompetitive conduct, the
   a. Aggregation of Conduct                                       Court broke it into two claims and analyzed each separately.
In its summary judgment papers, APL urges the Court to             It considered the monopolist's wholesale pricing practices
view Matson's conduct holistically and determine whether           as a failure-to-deal-with-rivals claim, id. at 450–51, and its
Matson's entire course of conduct is anticompetitive.              retail pricing practices as a predatory-pricing claim, id. at 451.
APL MSJ at 38. Matson counters that the Court should               Finding neither half of the claim viable, the Court held that
disaggregate its conduct and analyze each category of              combining the two could not make the monopolist liable. Id.
anticompetitive conduct independently. Matson MSJ at 12.           at 452.
At oral argument, however, the parties largely agreed on the
appropriate method of analysis. Counsel for APL concurred           *10 Other circuits also use a category-by-category
that the Court must “find one of [APL's] alleged categories of     approach. As the Tenth Circuit observed, “[r]eal-world
conduct anticompetitive before [the Court] can aggregate it,”      monopolists may engage in allegedly exclusionary conduct
and that “the Court cannot consider competitive conduct in         which does not fit within a single paradigm .... In these
the mix of actions” when determining antitrust liability. Oral     situations, the courts disaggregate the exclusionary conduct
Arg. Tr. 124:8–15.                                                 into its component parts before applying the relevant law.” In
                                                                   re EpiPen Mktg., Sales Pracs. & Antitrust Litig., 44 F.4th 959,
The parties’ agreed-upon approach hews to binding                  982 (10th Cir. 2022). The Fifth Circuit agrees that “[e]ach of
precedent. In Microsoft, the government alleged that               [the plaintiff's] theories must be separately analyzed in light
Microsoft engaged in multiple types of exclusionary conduct.       of settled principles of antitrust law.” Retractable Techs., Inc.
253 F.3d at 58. To assess these allegations, the D.C. Circuit      v. Becton Dickinson & Co., 842 F.3d 883, 891 (5th Cir. 2016).
applied a burden-shifting test. See id. at 58–59. At the
first step, the Circuit asked whether the government had           The Fourth Circuit, as APL notes in its briefing, has taken
demonstrated that Microsoft's actions had an anticompetitive       a slightly different tack. In Duke Energy Carolinas, LLC v.
effect before shifting the burden to Microsoft to demonstrate      NTE Carolinas II, LLC, 111 F.4th 337 (4th Cir. 2024), it
a procompetitive justification for its conduct. Id. But rather     held that when a plaintiff “alleges that a scheme or course of
than apply that test to the entire body of conduct alleged by      conduct was anticompetitive, the scheme or conduct must be
the government, the Circuit applied it to each individual type     considered as alleged, not in manufactured subcategories.” Id.
of anticompetitive conduct that was alleged. For example, the      at 355. But that case offers no ballast here.
Circuit reviewed five types of alleged conduct by Microsoft
as to internet-access providers and concluded that just one of     First, this Court is obviously bound to follow the D.C.
them had an anticompetitive effect. Id. at 67–71. As Judge         Circuit's more granular approach.
Mehta observed in a recent case, “only as to that conduct
did the burden shift to Microsoft,” and “[t]he other four          Second, as the D.C. Circuit observed in Microsoft, the
allegations ... were not considered further.” United States        Supreme Court has only ever applied a “course of conduct”
v. Google, 687 F. Supp. 3d 48, 68 (D.D.C. 2023). That              theory in cases involving “conspiracies among multiple
approach therefore requires courts in this district to “evaluate   firms,” where “the course of conduct is the conspiracy itself,
whether each type of alleged exclusionary practice has the         for which all participants may be held liable.” 253 F.3d at
requisite anticompetitive effect.” Id. at 68; see also Covad       78 (quotation marks omitted); Google, 687 F. Supp. 3d at
Commc'ns Co. v. Bell Atl. Corp., 398 F.3d 666, 672–77 (D.C.        69. Under those circumstances, it makes sense to look at
Cir. 2005) (separately analyzing five categories of allegedly      the conspiracy as a whole, rather than the conduct of each
anticompetitive conduct).                                          individual participant. See Cont'l Ore Co. v. Union Carbide &
                                                                   Carbon Corp., 370 U.S. 690, 699 (1962) (“[T]he character and
The Supreme Court also analyzes anticompetitive conduct            effect of a conspiracy are not to be judged by dismembering
piecemeal. In Pacific Bell Telephone Co. v. linkLine               it and viewing its separate parts, but only by looking at it as
Communications, Inc., 555 U.S. 438 (2009), the Court               a whole.”).
confronted a novel theory of antitrust liability called a “price
squeeze.” Id. at 442. The plaintiffs claimed the monopolist


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                               8
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                            Filed 03/21/25           Page 10 of 26 Page
                                                       ID #:20609

It would be “unworkable” to extend that rule beyond
conspiracies and hold that “business conduct that does not             i. Threats and Retaliation Against Shipping Customers
offend that antitrust laws may violate the Sherman Act once            and Vendors in Guam
it is combined with other lawful business conduct.” Eatoni          To begin, APL alleges that Matson threatened and retaliated
Ergonomics, Inc. v. Rsch. in Motion Corp., 826 F. Supp.             against companies that did, or considered doing, business
2d 705, 710 (S.D.N.Y. 2011); see New York v. Facebook,              with APL. APL points to a slew of instances where, it claims,
Inc., 549 F. Supp. 3d 6, 47 (D.D.C. 2021) (collecting similar       Matson successfully intimidated customers by cutting off, or
cases). Courts would have to identify a tipping point at which      increasing the rates charged to, companies that did business
the plaintiff has strung together enough lawful acts to make        with APL and threatening to impose similar sanctions on
the entire series unlawful. The Court is unaware of any case        those that continued to ship with APL. See APL MSJ at 23–
that undertook such an exercise in futility. Even the Fourth        30 (summarizing threats and retaliation and other allegedly
Circuit did not do so in Duke Energy. While it repeatedly           exclusionary conduct); PSUF ¶¶ 118–187 (describing threats
described the conduct alleged by the plaintiffs as a “scheme,”      or retribution against eight different companies). APL trains
it nonetheless divided the scheme into two prongs and found         its summary judgment briefing on five companies: Approved
each to be anticompetitive on its own. See Duke Energy, 111         Freight, DeWitt Guam, Guam Trucking and Warehouse,
F.4th at 356, 362, 366.                                             Guam Movers, and Royal Hawaiian. See APL MSJ at 38;
                                                                    see also APL Reply at 14. And, as mentioned above, it
For these reasons, the Court agrees with the parties that it must   highlighted a sixth company at oral argument: Home Depot.
analyze each form of allegedly exclusionary conduct on its          Yet its evidence as to these six companies comes up short for
own before it can aggregate them. If none of Matson's acts          at least one of three reasons: (1) APL's proof of the conduct
were exclusionary, then it is entitled to summary judgment.         rests entirely on inadmissible hearsay; (2) Matson's conduct
See linkLine, 555 U.S. at 457 (“Two wrong claims do not             falls outside the statute of limitations; and (3) APL has failed
                                                                    to show that the conduct is anticompetitive.
make one that is right.”). 4

                                                                    Start with Home Depot. APL's allegations rest entirely on
   b. The Conduct at Issue                                          inadmissible hearsay. At summary judgment, APL must
 *11 Throughout this case, APL has taken a blunderbuss              produce evidence that (1) creates a genuine dispute of
approach to claiming anticompetitive conduct on Matson's            material fact and (2) is “capable of being converted into
part. In an effort to focus the fire in light of discovery, the     admissible evidence.” Gleklen v. Dem. Cong. Campaign
Court asked APL's counsel at oral argument for his “best            Comm., 199 F.3d 1365, 1369 (D.C. Cir. 2000). Here, APL
evidence” of anticompetitive conduct. Oral Arg. Tr. 124:22–         offers deposition testimony from three witnesses to support
24. Counsel identified two things: (1) deposition testimony         its allegation that Matson threatened to retaliate against Home
that Matson had threatened to retaliate against a major             Depot if it shipped products to Guam with APL. Ed Aldridge,
shipping customer—Home Depot—if it shipped with APL to              APL's former president, testified that he spoke with Tony
Guam and (2) Matson's purportedly retaliatory actions against       Bonaparte, a now-deceased Home Depot executive, about
APL in Alaska, where both companies operate. Oral Arg.              Matson's purported threats against Home Depot. Aldridge
Tr. 124:22–125:13, 126:21–127:2. The Court will therefore           testified that Bonaparte told him that “if [Home Depot]
begin with APL's allegations that Matson threatened Home            gave too much business to APL in Guam, there would be
Depot and other companies that shipped with APL to Guam.            ramifications on [Home Depot's] business to Hawaii, which
It will then address Matson's alleged retaliation against APL       was substantial.” DSJ 86 (Aldridge Dep.) at 232:24–233:14.
in Alaska before analyzing the remaining scatter of allegedly       Another APL executive similarly testified that he heard from
anticompetitive conduct: (1) making disparaging comments            Bonaparte that Matson informed Home Depot that APL
to shipping customers regarding APL's MSP subsidies; (2)            “would be leaving the market very soon” and that “if you
creating loyalty programs for customers that ship to Guam;          ship with APL, you better be careful.” DSJ 45 (Theberge
(3) entering into allegedly restrictive agreements with Guam        Dep.) at 62:18–63:2. And a third APL employee testified that
customers; and (4) offering APL cargo “slots” on Matson's           Bonaparte told him that Matson employees would “hassle”
vessels as a means to force APL out of the Guam market.             Home Depot employees if they saw non-Matson containers
                                                                    in Home Depot's freight yard. PSUF ¶ 345; DSJ 46 (Hermosa
                                                                    Dep.) at 204:13–16.



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                              9
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                             Filed 03/21/25           Page 11 of 26 Page
                                                       ID #:20610

None of that deposition testimony is admissible to show that        APL is offering these statements purely for their effect on
Matson engaged in exclusionary conduct. Each contains three         the listener and not for the truth of the matter asserted, then
levels of hearsay: (1) the APL declarants’ statements in their      APL has no evidence that Matson made these threats. On the
depositions; (2) Bonaparte's statements to the APL declarants;      other hand, if APL wishes to offer them to prove that Matson
and (3) the Matson employees’ statements to Home Depot.             threatened Home Depot, then it must demonstrate that they
The first and third levels are admissible (or potentially so),      are admissible for that purpose under a hearsay exception.
as APL presumably would call the declarants to testify,
and the Matson employees’ statements are statements by a            Second, these statements are only partially admissible under
party opponent when offered by APL under Federal Rule of            Rule 803(3), the state-of-mind exception. The statements
Evidence 801(d)(2)(D).                                              could be admissible to prove that customers were generally
                                                                    afraid to do business with APL. See 2 McCormick on
 *12 That leaves the second level of hearsay: Bonaparte's           Evidence § 274 (8th ed. July 2022 Update) (“[S]tatements
statements to the APL declarants. In its opposition to              showing fear” are admissible under Rule 803(3)). But Rule
Matson's motion for summary judgment, APL dismissed                 803(3) goes no further. It cannot be used to prove that the
the potential hearsay problems by arguing that Matson               event that caused the state of mind actually occurred. United
“incorrectly presumes no claim could be supported unless            States v. Slatten, 395 F. Supp. 3d 45, 87 (D.D.C. 2019) (Rule
APL was ‘in the room’ with Matson.” APL MSJ at 41. Not              803(3) “does not permit the declarant to relate what caused
so. APL could rely on documentary evidence of these threats         the state of mind.”); see 2 McCormick on Evidence § 274
or call the threatened Home Depot employees to testify in           (“[T]he normal practice is to admit the statement and direct
support of its claims.                                              the jury to consider it only as proof of the state of mind and to
                                                                    disregard it as evidence of the other issues.”). As the Advisory
APL also mistakenly relies on Chase Manufacturing, Inc. v.          Committee explained, it would “destr[oy]” the hearsay rule to
Johns Manville Corp., 84 F.4th 1157 (10th Cir. 2023). There,        allow the declarant's “state of mind ... to serve as the basis for
the defendant argued that emails the plaintiff offered to show      an inference of the happening of the event which produced
that the defendant threatened customers were hearsay. Id.           the state of mind.” Fed. R. Evid. 803 Advisory Committee
at 1176. But the district court held, and defendant did not         Notes (1972).
dispute, that the emails might be admissible under hearsay
exceptions. Id. Given the defendant's concession, the Tenth         Courts have applied this limitation on Rule 803(3) in
Circuit brushed aside the defendant's hearsay arguments. Id.        a number of antitrust cases to exclude evidence of why
                                                                    customers had a state of mind. For example, the Third
APL's summary judgment brief, however, does not mention             Circuit held that hearsay evidence was admissible under
a single hearsay exception under which the Home Depot               Rule 803(3) to prove customers’ motives for not dealing
employees’ statements could be admitted. See APL MSJ at             with the plaintiffs, but not to prove “the facts recited as
41. In its reply brief in support of its motion, APL argues         furnishing the motives.” Callahan v. A.E.V., Inc., 182 F.3d
for the first time that the statements are not hearsay because      237, 252 (3d Cir. 1999) (quoting J.F. Feeser, Inc. v. Serv-A-
they are being offered for their effect on the listener or,         Portion, Inc., 909 F.2d 1524, 1535 n.11 (3d Cir. 1990)); see
in the alternative, fall under the state-of-mind or residual        also New York v. Microsoft Corp., No. 98-cv-1233 (CKK),
exceptions. See APL Reply at 23–25. “Generally, arguments           2002 WL 649951, at *3 (D.D.C. Apr. 12, 2022) (holding
raised for the first time in a reply are waived.” Alston v. Dist.   that hearsay was inadmissible under Rule 803(3) to prove
of Columbia, 561 F. Supp. 2d 29, 37 (D.D.C. 2008)). Out of          that Microsoft conditioned its dealing). Likewise here, the
an abundance of caution, the Court will nevertheless address        customers’ statements cannot be admitted under Rule 803(3)
—and reject—APL's belated arguments.                                to prove what Matson said or did to Home Depot, or even that
                                                                    it said or did anything at all.
First, APL's effect-on-the-listener argument is dead in the
water. APL must prove that Matson in fact made these                 *13 Third, Rule 807, the residual exception, is also
threats to Home Depot. Here, APL's only evidence that               unavailing. That exception is to be used “only in the most
Matson threatened Home Depot is the three APL employees’            exceptional circumstances” to admit hearsay that does not fall
deposition testimony. See PSUF ¶¶ 344–45 (citing only               under any other exception where the evidence is both “very
deposition testimony as evidence of Matson's threats). So, if       important and very reliable.” United States v. Slatten, 865



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                              10
 Case 8:23-cv-00268-WLH-DFM                    Document 196-1           Filed 03/21/25
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                                                 Page 12 of 26 Page
                                                    ID #:20611

F.3d 767, 807 (D.C. Cir. 2017) (quotation marks omitted).       APL also fails to show that it could not discover admissible
Courts consider (1) whether the evidence “is supported by       evidence of Matson's threats against Home Depot. This
sufficient guarantees of trustworthiness”; (2) whether the      prerequisite for the residual exception “has the effect
evidence “is more probative on the point for which it is        of imposing a rough ‘best evidence’ requirement[.]” 2
offered than any other evidence that the proponent can          McCormick on Evidence § 324. As APL admits, it did not
obtain through reasonable efforts”; and (3) whether the party   subpoena Home Depot or any of its employees or disclose any
provided sufficient notice. Fed. R. Evid. 807; 2 McCormick      potential witnesses from Home Depot during discovery. APL
on Evidence § 324.                                              Resp. to DSUF ¶ 164. While APL claims that it planned to
                                                                depose a Home Depot witness whom Matson subpoenaed but
APL's evidence flunks all three considerations. To begin,       ultimately did not depose, id., that does not change the fact
the evidence is not supported by sufficient guarantees of       that APL also could have subpoenaed that witness or others.
trustworthiness. There is no other non-hearsay evidence in      Similarly, that Mr. Bonaparte unfortunately died before this
the record corroborating APL's claims that Matson employees     case began, DSUF ¶ 164, does not excuse APL's apparent
made these alleged threats to Home Depot. See Fed. R. Evid.     lack of efforts to discover alternative, first-hand evidence of
807(a)(1) (requiring courts to consider “evidence, if any,      Matson's purported threats against Home Depot during the
corroborating the statement”). If anything, record evidence     extensive discovery process in this case. APL's omission is
suggests that Mr. Bonaparte of Home Depot may have told         even more glaring considering that APL places the Home
APL that Matson threatened Home Depot as an excuse              Depot threats among its “best evidence” of anticompetitive
to avoid doing further business with APL. For example,          conduct. Oral Arg. Tr. 124:22–125:13.
internal Home Depot documents suggest that its employees
were reluctant to ship large volumes of cargo with APL           *14 Finally, APL does not mention Rule 807’s notice
because of APL's slower and less reliable service rather        requirement, let alone argue that it was satisfied here. See
than any potential retaliation by Matson. See, e.g., DSJ 394    APL Reply at 24–25. While APL may have been able to cure
(“Due to [APL's] new service and extended lead time, only       any deficiency by providing notice prior to trial, the omission
10% of [Home Depot's] Guam volume will be awarded               does little to persuade the Court of the merits of APL's belated
to APL[.]”); DSJ 396 (“We did not have issues like this         and half-hearted invocation of the residual exception.
with Matson shipping to Guam.... I'm at a bit of a loss on
how to proceed with APL[.]”). Even Mr. Bonaparte himself        To sum up, APL's “best evidence” of threats against Home
expressed frustration with APL's service, writing in an email   Depot “counts for nothing” because it consists exclusively
that Home Depot “need[ed] to load on Matson Equipment           of inadmissible hearsay that APL has not shown can be
until [it had] a more definite execution from APL.” DSJ 395.    converted into admissible evidence. Gleklen, 199 F.3d at
                                                                1369. APL therefore cannot rely on its Home Depot-related
APL analogizes to BoDeans Cone Co. LLC v. Norse Dairy           allegations to avoid summary judgment. 5
Systems, LLC, 678 F. Supp. 2d 883 (N.D. Iowa 2009),
where the court admitted a customer survey offered by           APL's allegations as to Approved Freight, a California-
the plaintiff under Rule 807 to show that consumers felt        based freight forwarder, also rest on inadmissible hearsay.
they could not switch to doing business with the plaintiff      APL alleges that Matson threatened to lower its rates to
instead of the defendant. Id. at 903–05. But the deposition     one of Approved Freight's competitors if Approved Freight
testimony at issue here is nothing like the survey evidence     shipped Guam-bound cargo with APL. PSUF ¶ 183. It claims
in BoDeans. That survey was commissioned by and offered         further that Matson retaliated against Approved Freight by
against the defendant and was conducted by “a sophisticated     once leaving its cargo off a Matson ship. Id. ¶ 185. APL's
market-research firm using appropriate methodology[.]” Id.      only support for those allegations, however, comes from
at 904. Here, the customers’ statements were recounted by       deposition testimony by an APL executive recounting what
the plaintiff's employees and are being offered against the     an Approved Freight manager reportedly told him about the
defendant. And APL's employee declarants are not market-        alleged retribution. See id. (citing DSJ 45 (Theberge Dep.));
research experts, nor did they apply any kind of systematic     see also DSJ 45 (Theberge Dep.) at 116:1–8, 118:13–23
methodology to gather the reported statements.                  (testifying that “Randy” and “Troy” at Approved Freight told
                                                                him of the threats). For the reasons just discussed, those
                                                                statements are inadmissible for the purposes of proving what



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          11
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                           Filed 03/21/25         Page 13 of 26 Page
                                                      ID #:20612

Matson said or did and they cannot be considered at summary        companies that provide moving and shipping services,
judgment.                                                          including between the U.S. mainland and Guam. PSUF ¶¶
                                                                   142, 160. As relevant here, the two companies provide ground
Next up: Guam Trucking and Warehouse, which transports             trucking services on Guam and the Hawaiian Islands. Id.
cargo on Guam by truck, and Guam Movers, which had                 Before APL entered the Guam market, DeWitt (the parent)
a contract with Matson to carry wastepaper from Guam to            shipped goods to Guam using Matson, and both DeWitt Guam
China. APL's allegations as to both companies fall outside         and Royal Hawaiian provided Matson with trucking services
the applicable statute of limitations. Section 2 claims have       on Guam and the Hawaiian Islands. Id. ¶¶ 144–45, 161. After
a four-year statute of limitations. 15 U.S.C. § 15b. Here,         APL entered the market, DeWitt began shipping goods to
that means that APL must produce potentially admissible            Guam with APL. Id. ¶ 146. In response, Matson stopped using
evidence of anticompetitive conduct that occurred after July       both DeWitt Guam and Royal Hawaiian for local deliveries.
28, 2017. APL claims that Matson stopped giving local              Id. ¶¶ 149–50, 162–64. Emails and deposition testimony
delivery business to Guam Trucking and Warehouse after             suggest that Matson's decisions to cut off DeWitt Guam
the company started doing business with APL. See APL               and Royal Hawaiian were motivated by DeWitt's decision to
MSJ at 23–24, 38. It further alleges that Matson raised            switch to APL and a desire to work with companies deemed
Guam Movers's shipping rates after the company began               more loyal to Matson. See, e.g., PSJ 38 (Matson employee
shipping some cargo with APL. Id. at 25, 38. But Matson's          recommending no trucking business for DeWitt Guam until
alleged actions against both companies occurred before July        they have “demonstrated behaviors of alliance”); DSJ 345
2017. See PSUF ¶ 121 (“In February 2016 ... Matson[ ] ...          at 137:24–138:24 (Matson employee testifying that DeWitt's
cut off GTW[.]”); id. ¶ 176 (“In January 2017, [Matson]            switch to APL was “not well-received” and Matson chose to
increased the rates available to Guam Movers[.]”). These           stop giving trucking business to Royal Hawaiian and work
actions therefore cannot be the sole basis for imposing Section    instead with “supportive shippers”).
2 liability.
                                                                   For its part, Matson musters a declaration from the CEO
Somewhat confusingly, APL argues that Matson's conduct             of DeWitt Guam, who counters that “Matson has never
need not fall within the limitations period for APL to survive     threatened retaliation against the DeWitt Companies as a
summary judgment because time-barred conduct can be used           result of the DeWitt Companies conducting business with
as “proof of a violation.” APL MSJ at 40. APL might be             APL.” DSJ 398 ¶ 4 (Burrows Decl.). He adds that, to
correct that conduct outside the limitations period could          his knowledge, “Matson has never expressly refused to do
be relevant to proving that Matson engaged in some kind            business with the DeWitt Companies on account of the
of ongoing campaign of threats and retaliation that began          DeWitt Companies’ relationship with APL[.]” Id. ¶ 6.
outside the limitations period but continued within it. But
see Meta Platforms, 66 F.4th at 300 n.13 (rejecting argument       That declaration, however, does not paper over a genuine
that conduct outside the limitations period can be challenged      dispute of material fact. “Credibility determinations, the
on a course-of-conduct theory). But even if that were so,          weighing of the evidence, and the drawing of legitimate
APL still must identify at least some admissible evidence          inferences from the facts are jury functions, not those of
of anticompetitive threats or retaliation within the statute of    a judge ... ruling on a motion for summary judgment[.]”
limitations. See Meijer, Inc. v. Biovail Corp., 533 F.3d 857,      Anderson, 477 U.S. at 255. Here, the parties present
867 (D.C. Cir. 2008) (Plaintiff “must allege the defendants        conflicting evidence over whether Matson in fact cut off
injured them during the four[-]year [limitations] period[.]”).     DeWitt Guam and Royal Hawaiian due to DeWitt's dealings
If not, then Matson could potentially be held liable for conduct   with APL. The Court cannot resolve that factual dispute at
that occurred entirely outside the limitations period.             summary judgment.

 *15 That leaves two companies as to which APL's                   That said, APL has not demonstrated that Matson's decision
allegations are supported by non-hearsay evidence of conduct       to stop using DeWitt Guam and Royal Hawaiian was
within the limitations period: DeWitt Guam and Royal               anticompetitive for two independent reasons. First, DeWitt
Hawaiian. Both DeWitt Guam and Royal Hawaiian—along                Guam and Royal Hawaiian do not compete in the Guam
with Approved Freight and Guam Movers, discussed above             ocean cargo shipping market. Again, APL must demonstrate
—are affiliated with the DeWitt Companies, a group of              that Matson's actions harmed competition in the relevant



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                        12
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                            Filed 03/21/25          Page 14 of 26 Page
                                                       ID #:20613

market. See Qualcomm, 969 F.3d at 992. As a result, APL             jury to conclude that Matson engaged in anticompetitive
must produce evidence from which a jury could conclude              conduct by threatening or retaliating against companies that
that Matson's actions in the local Guam and Hawaii trucking         did business with APL.
delivery markets harmed competition in the U.S.-Guam ocean
shipping market. But APL has produced no evidence of such
a connection. It has not identified any evidence, for instance,        ii. Alaska
that DeWitt as a whole stopped doing business with APL              APL's other “best evidence” of anti-competitive conduct—
on U.S.-Guam routes because Matson ceased using its local           Matson's actions in Alaska—also stalls short of the harbor.
trucking affiliates.                                                Some context first on Alaska's surprising starring role in this
                                                                    Guam-focused case. Both APL and Matson provide shipping
Second, APL's allegations at most describe a lawful refusal to      and other logistical services in Alaska. See PSUF ¶¶ 188–90.
deal. Monopolists have a broad right not to deal. See United        APL alleges that after it entered the Guam market, Matson
States v. Colgate & Co., 250 U.S. 300, 307 (1919). As part of       retaliated against APL's Alaska operations as reprisal for
that right, “[a] retail dealer has the unquestioned right to stop   competing against Matson in Guam. Specifically, APL claims
dealing with a wholesaler for reasons sufficient to himself,        that Matson (1) ended agreements by which Matson would
and may do so because he thinks such dealer is acting unfairly      transport cargo from locations in Alaska to APL's ships, id.
in trying to undermine his trade.” Id. at 307 (quoting E. States    ¶¶ 194–95; (2) ejected APL from a leased shipping terminal
Retail Lumber Dealers’ Ass'n v. United States, 234 U.S. 600,        in Kodiak, Alaska, id. ¶ 222; (3) terminated APL's shop
614 (1914)); see NYNEX Corp. v. Discon, Inc. 525 U.S. 128,          and office leases, id. ¶¶ 237–38; (4) suspended arrangements
137 (1998) (“The freedom to switch suppliers lies close to the      under which the two companies would lend each other a
heart of the competitive process that the antitrust laws seek       tugboat when two were required, id. ¶ 249; and (5) ceased
to encourage.”). Applying that principle here, Matson, as a         other lesser forms of cooperation, such as sharing spare parts,
retailer of shipping services, may choose from whom it will         id. ¶ 253. APL claims those actions caused it to incur about
purchase local delivery services.                                   $45 million in additional costs, including purchasing a new
                                                                    tug, leasing new office space, and relocating APL's Alaska
APL nods to Aspen Skiing Co. v. Aspen Highlands Skiing              operations. Id. ¶ 268.
Corp., 472 U.S. 585 (1985), which created a narrow exception
to the refusal-to-deal principle. APL MSJ at 39. The Court          As the Court explained in its motion-to-dismiss ruling, these
will discuss that case in greater depth below when analyzing        allegations “do not constitute a standalone antitrust claim”
APL's Alaska allegations. For now, it is enough to say that         because APL has not pled an independent Alaska market or
APL does not even try to satisfy the Aspen Skiing exception.        that Matson possessed monopoly power in that market. APL,
Nor is it clear that APL could do so, because the exception         633 F. Supp. 3d at 232; see also Rambus Inc. v. FTC, 522
has only ever been employed when a monopolist refuses to            F.3d 456, 466 (D.C. Cir. 2008) (A § 2 monopolization claim
deal with its rivals. See linkLine, 555 U.S. at 448 (Aspen          requires the defendant to possess “monopoly power in the
Skiing held that “a firm's unilateral refusal to deal with its      relevant market[.]”). Instead, APL's market and monopoly-
rivals can give rise to antitrust liability.” (emphasis added)).    power allegations are steered exclusively at Guam. As a
Matson, however, does not compete with DeWitt Guam or               result, for APL to defeat summary judgment based on
Royal Hawaiian; they are its vendors. And APL identifies no         its Alaska-related allegations, it must produce sufficient
case in which a court has held that a monopolist's decision         evidence for a jury to conclude that Matson's conduct in
to take its business to a different vendor or supplier was          Alaska harmed competition in the U.S.-Guam market. See
anticompetitive.                                                    APL, 633 F. Supp. 3d at 232. It must also show that Matson's
                                                                    Alaska conduct was anticompetitive. APL has not made either
 *16 To sum up, APL aimed six shots across Matson's bow             showing.
but misfired each time. It produced only inadmissible hearsay
as to Home Depot and Approved Freight. It identified only           First, APL has produced no evidence to support a conclusion
time-barred conduct as to Guam Movers and Guam Trucking             that Matson's Alaska actions harmed competition in Guam.
and Warehouse. And it failed to show that Matson's conduct          As the Court previously explained, harm to competition
as to DeWitt Guam and Royal Hawaiian was anticompetitive.           may include “reduced output (i.e., fewer shipping choices),
APL therefore has not produced sufficient evidence for a            increased prices, and diminished quality of service compared
                                                                    to a market in which APL could fully compete absent


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            13
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                           Filed 03/21/25          Page 15 of 26 Page
                                                      ID #:20614

Matson's alleged conduct.” APL, 633 F. Supp. 3d at 221.            harmed competition in Guam, there is no effect to understand.
There is no evidence in the record that Matson's Alaska            As a result, APL cannot use this Guam-focused lawsuit
conduct had any of those effects in Guam. APL has not, for         to recover any damages it may have suffered because of
example, connected its increased costs in Alaska to increases      Matson's Alaska conduct.
in its Guam rates. Nor has it shown that those costs caused it
to offer an inferior shipping service in Guam. To the contrary,    As APL points out, courts have permitted plaintiffs to recover
APL's corporate representative confirmed at his deposition         out-of-market damages when the defendant's conduct in one
that Matson's actions in Alaska did not affect the Guam trade.     market harms competition in another. See SC Innovations,
DSUF ¶ 212. He testified that Matson's decision to stop            Inc. v. Uber Techs, Inc., No. 18-cv-7440-JCS, 2021 WL
transporting cargo to APL's ships in Alaska had “no direct         2302728, at *1 (N.D. Cal. May 11, 2021) (“[A]t least one
impact on the Guam trade” and that APL's “pricing [in Guam]        court has allowed damages outside the relevant product
didn't get affected directly.” DSJ 15 (APL 30(b)(6) Dep.) at       market, so long as a plaintiff establishes cognizable injury
322:20–323:14. He further stated that Matson's termination         within the relevant market and the additional out-of-market
of APL's Alaska leases did not affect APL's Guam prices            damages are a consequence of that injury.”) (citing Bonjorno
or its carrying capacity to Guam. Id. at 324:18–325:5. And         v. Kaiser Aluminum & Chem. Corp., 752 F.2d 802, 814 (3d
he acknowledged that Matson's decision to eject APL from           Cir. 1984)); O.E.M. Glass Network, Inc. v. Mygrant Glass
certain terminals in Alaska did not affect Guam pricing either,    Co., No. 19-cv-742 (NGG) (LB), 2023 WL 2563689, at *22–
or cause any of APL's customers to stop shipping with APL.         23 (E.D.N.Y. Mar. 17, 2023) (agreeing with SC Innovations).
Id. at 325:14–326:6. That testimony “is a sworn corporate          That rule makes sense because “[a] party harmed inside
admission that is binding on the corporation.” United States       the relevant market may also operate elsewhere and the
ex rel. Fargo v. M&T Mort. Corp., 235 F.R.D. 11, 24 (D.D.C.        anticompetitive effects inflicted in the relevant market may
2006).                                                             impact the party's operations outside of that market.” O.E.M.
                                                                   Glass Network, 2023 WL 2563689, at *23. Applying that rule
 *17 APL primarily relies on statements made by Matson             here, APL potentially could recover damages it suffered in
employees to draw a connection between Alaska and Guam.            Alaska if it were able to show that Matson's conduct in Guam
See PSUF ¶¶ 261–65. For example, APL's former president            spilled over to Alaska and harmed APL there. But APL is
testified at his deposition that when he raised Matson's           pressing a very different theory of the case here. APL's theory
behavior in Alaska with Matson's CEO, he responded that “it        is not that Matson's Guam conduct spilled over to Alaska,
all begins and ends with Guam.” PSUF ¶ 262. Matson's chief         but that APL's own conduct in Guam caused Matson to take
commercial officer similarly testified that Matson's actions       further actions against APL in Alaska. APL identifies no case
in Alaska were due to, among other things, an “intensifying        that supports that attenuated theory of liability.
level of competition in various parts of the world,” including
Guam. PSUF ¶ 264.                                                  Second, Matson's alleged Alaska conduct is not
                                                                   anticompetitive. Matson's cessation of cooperation with APL,
That evidence, however, does not prove that Matson's conduct       its competitor, falls under the Supreme Court's refusal-to-deal
in Alaska harmed competition in Guam. As an initial matter,        caselaw. See linkLine, 555 U.S. at 449; Chase Mfg., 184 F.4th
those quotes most obviously suggest that Guam affected             at 1173. Such refusal is actionable only when the defendant
Alaska, not the other way around. But even when viewed in          is a monopolist in the relevant market. linkLine, 555 U.S.
the light most favorable to APL, the quotes at best suggest that   at 448; see Microsoft, 253 F.3d at 50 (requiring a Section 2
Matson intended to harm APL in Guam through its Alaska             plaintiff to demonstrate the defendant possesses “monopoly
conduct. Intent alone, however, is not enough to incur antitrust   power in the relevant market”). Here, however, APL does
liability. Microsoft, 253 F.3d at 59. As the Tenth Circuit has     not even allege an independent Alaska market, let alone that
put it, “[w]ere intent to harm a competitor alone the marker       Matson is a monopolist within that market.
of antitrust liability, the law would risk retarding consumer
welfare by deterring vigorous competition[.]” Novell, 731           *18 Even if Matson were a monopolist in Alaska,
F.3d at 1078. To be sure, courts may consider intent “to           APL still has not shown that Matson's Alaska conduct is
the extent it helps ... understand the likely effect of the        anticompetitive. “[A]s a general matter, the Sherman Act
monopolist's conduct.” Microsoft, 253 F.3d at 59. But without      does not restrict the long recognized right of a trader or
any evidence of how Matson's Alaska conduct actually               manufacturer engaged in an entirely private business, freely



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           14
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                             Filed 03/21/25           Page 16 of 26 Page
                                                       ID #:20615

to exercise his own independent discretion as to parties with       only for the defendant to refuse to sell tickets to the plaintiff.
whom he will deal.” Verizon Commc'ns, Inc. v. Curtis V.             Id. at 593–94. Based on these facts, the Supreme Court
Trinko, LLP, 540 U.S. 398, 408 (2004) (cleaned up). That            concluded that a jury could find that the defendant “was
right means that a monopolist may refuse to cooperate with          not motivated by efficiency concerns and ... was [instead]
a rival for whatever reason it sees fit, even when it “wants to     willing to sacrifice short-run benefits and consumer goodwill
prevent that rival from competing with it.” Facebook, 549 F.        in exchange for a perceived long-run impact on its smaller
Supp. 3d at 24; see id. (collecting authorities). Accordingly,      rival.” Id. at 610–11. The plaintiff's monopolization claim was
Matson had no duty to cooperate with its competitor in Alaska       therefore allowed to proceed.
unless APL can identify some exception to Matson's right not
to deal.                                                            “Aspen Skiing is at or near the outer boundary of § 2 liability,”
                                                                    Trinko, 540 U.S. at 409, leaving open only a “narrow-eyed
APL identifies no such exceptions in its summary judgment           needle” for plaintiffs to thread. Novell, 731 F.3d at 1074;
briefing. It argues instead that (1) the refusal-to-deal            Facebook, 549 F. Supp. 3d at 26. Courts apply a three-
framework does not apply and (2) Matson's procompetitive            step test when evaluating an Aspen Skiing claim. First,
justifications for its actions are pretextual. APL MSJ at 42–       the plaintiff must demonstrate the monopolist and its rival
43. Neither argument floats.                                        had a “voluntary (and thus presumably profitable) course
                                                                    of dealing[.]” Trinko, 540 U.S. at 409; Novell, 731 F.3d at
To begin, courts have long employed the refusal-to-deal             1074; Facebook, 549 F. Supp. 3d at 24. Second, the plaintiff
framework in cases where the defendant allegedly stopped            must show that “the refusal to deal involves products that
providing services to, or sharing resources with, the plaintiff.    the defendant already sells in the existing market to other
For example, in Trinko, the Supreme Court applied that              similarly situated customers.” Qualcomm; 968 F.3d at 994;
framework to Verizon's refusal to provide support services          Facebook, 549 F. Supp. 3d at 24. And third, the plaintiff
to its rivals to enable them to connect to Verizon's network.       must show that the monopolist's refusal to deal “suggest[s]
540 U.S. at 410. The Tenth Circuit later applied Trinko to          a willingness to forsake short-term profits to achieve an
allegations that Microsoft had unlawfully ceased sharing parts      anticompetitive end.” Trinko, 540 U.S. at 409.
of its Windows operating system with companies developing
applications that competed with Microsoft applications.              *19 Even assuming arguendo that APL has met the first two
Novell, 731 F.3d at 1068, 1079. Matson's alleged Alaska             requirements, it is high and dry at the third. This last step is
conduct fits the mold of these two cases. APL is Matson's           “demanding[.]” Facebook, 560 F. Supp. 3d at 24. A plaintiff
competitor. Like the plaintiff in Trinko, APL is complaining        must demonstrate that “the [monopolist's] only conceivable
that a competitor refused to provide it certain services—i.e.,      rationale or purpose is to sacrifice short-term benefits in order
transporting cargo or leasing terminal and office space. And        to obtain higher profits in the long run from the exclusion
like the plaintiff in Novell, APL is also alleging that a           of competition.” Aerotec Int'l, Inc. v. Honeywell Int'l, Inc.,
competitor refused to share resources with it—i.e., spare parts     836 F.3d 1171, 1184 (9th Cir. 2016) (quotation marks omitted,
and a tugboat. As a result, the refusal-to-deal cases apply         emphasis added); accord Novell, 731 F.3d at 1076 (requiring
squarely to Matson's Alaska conduct and thus require APL to         that “the monopolist's conduct must be irrational but for
identify an exception to the general rule that competitors are      its anticompetitive effect”); Areeda & Hovenkamp ¶ 772d3
not obligated to do business with their rivals.                     (“[T]he refusal [to deal] must be ‘irrational’ in the sense that
                                                                    the defendant sacrificed an opportunity to make a profitable
Unfortunately for APL, the Supreme Court has recognized             sale only because of the adverse impact the refusal would
just one exception to this rule—and it does not apply here.         have on a rival.”).
In Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472
U.S. 585 (1985), the defendant owned three of four ski resorts      Matson executives provided deposition testimony indicating
in Aspen, Colorado, and the plaintiff owned the fourth. Id. at      that the company refused to deal with APL in Alaska
589–91. For decades, the companies jointly offered customers        for procompetitive reasons. Several explained that Matson
an all-access pass to all four resorts. Id. The defendant ended     terminated or declined to renew its agreements with APL and
the arrangement and did all it could to block the plaintiff from    stomached the associated losses because it intended to launch
recreating the pass. Id. at 592–93. For example, the plaintiff      an Alaskan shipping service that competed with APL's and
offered to buy its customers tickets for the defendant's resorts,   needed the facilities it had previously leased to APL for its



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                              15
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                          Filed 03/21/25          Page 17 of 26 Page
                                                      ID #:20616

own purposes. Matson MSJ at 33–34; see DSJ 33 (Lauer              Next, APL accuses Matson of unfairly telling customers that
Dep.) at 146:9–21 (testifying that renewing an agreement          APL depends on MSP subsidies to compete in the Guam
with APL would have been “incompatible” with Matson's             market and that APL would soon be leaving the market
new service); DSJ 28 (Cox Dep.) at 54:23–55:8 (“We were           following the end of the subsidies. Matson's implicit message,
planning on ... launching our own international service in        APL says, was that customers should not do business with
competition with ... APL[.]”); see also DSJ 11 (Matson            APL, lest they face adverse consequences down the line.
30(b)(6) Dep.) at 193:12–20 (testifying Matson ended a            APL claims this messaging strategy discouraged shipping
lease with APL because “our terminal is very congested”           customers from doing business with APL. This attack sails
and Matson “subsequently used this much-needed space for          off course in several respects.
other operations”). Matson ultimately launched that service in
2020. DSJ 33 (Lauer Dep.) at 147:7–10. One executive also          *20 For starters, much of the evidence supporting these
explained that it ended the tug-sharing arrangement due to        allegations runs into a familiar obstacle: the hearsay rule.
an incident where APL's tug was unavailable to help Matson        Specifically, APL's evidence that Matson told customers
dock a ship, creating safety issues. DSJ 28 (Cox Dep.) at 69:6–   APL would soon be leaving the market consists primarily of
78:9.                                                             deposition testimony from current or former APL employees.
                                                                  Those employees testified that APL customers told them that
In light of Matson's evidence, the burden shifts to APL           Matson employees had predicted APL's imminent departure
to produce evidence disputing those justifications. It has        from the market. See, e.g., DSJ 45 (Theberge Dep.) at 54:24–
not done so. Instead, APL argues that Matson produced             25 (“Matson told [customers], you better be careful if APL
no contemporaneous evidence documenting the justifications        leaves the market.”); DSJ 46 (Hermosa Dep.) at 137:3–16,
offered in discovery. APL MSJ at 43–44. That may be so, but       138:18–141:7 (testifying that customers told him that Matson
it does not change the fact that there is no evidence in the      employees were “making comments in the marketplace
record contradicting Matson's justifications. The only record     about APL leaving” and how “it was just a matter of time
evidence instead reveals that, regardless of whether Matson       before APL would leave the market”). The APL employees
documented its thinking at the time, Matson did in fact (1)       did not personally witness any Matson employees making
launch a competing shipping service and (2) stop the tug-         the remarks reported by the customers. DSJ 45 (Theberge
sharing arrangement after a safety incident. On that record,      Dep.) at 47:14–16 (“Customers shared the information” with
no reasonable jury could conclude that “the only conceivable      APL.); DSJ 46 (Hermosa Dep.) at 139:1–3 (“I was advised
rationale” for Matson's Alaska conduct was to exclude APL         that [Matson] salespeople were making comments in the
from the Guam market.                                             marketplace about APL leaving.”); id. at 140:2–5 (testifying
                                                                  that he did not “ever personally witness a salesperson from
Finally, while Trinko left a door open to recognizing other       Matson making a comment in the marketplace about APL
exceptions to a monopolist's right to refuse to deal, see 540     leaving”).
U.S. at 408, APL does not argue for a new exception. And the
Court will not create one. See id. (The Supreme Court “ha[s]      For the reasons discussed previously, customers’ purported
been very cautious in recognizing such exceptions, because        statements to APL are inadmissible to show that Matson
of the uncertain virtue of forced sharing and the difficulty      employees said that APL would be leaving the market soon.
of identifying and remedying anticompetitive conduct by a         That evidence therefore “counts for nothing,” Gleklen, 199
single firm.”).                                                   F.3d at 1369, leaving APL's allegations based on those
                                                                  statements bereft of evidentiary support.
Because APL has not produced evidence that Matson's
Alaska conduct adversely affected competition in Guam             APL does offer some internal Matson communications
or demonstrated that Matson's conduct fits the narrow             documenting Matson's messaging strategy around MSP
Aspen Skiing exception, the Court will deny APL summary           subsidies. For example, Matson executives wrote in an email
judgment and grant Matson summary judgment as to APL's            chain that their “message” to customers was that “[i]t is
Alaska-related allegations.                                       not fair for one carrier to receive a subsidy from the U.S.
                                                                  Government to compete with other carriers that do not receive
                                                                  any subsidy,” and that Matson is “request[ing] a level playing
  iii. MSP-related comments                                       field.” PSJ 18. Matson higher-ups instructed their sales teams



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          16
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                           Filed 03/21/25           Page 18 of 26 Page
                                                      ID #:20617

to deliver that message to customers. See PSUF ¶¶ 324–25. A        misstatements of fact, simply does not amount to a violation
Matson manager also sent a text message to employees that          of the antitrust laws.”).
read: “The governor says something really stupid that APL
needs the subsidy in order to call Guam. You guys can use that      *21 To be sure, false statements about a competitor can be
statement and develop good arguments with your customers.”         anticompetitive. See Walgreen Co. v. AstraZeneca Pharms.
PSJ 120; DSJ 14 (Santos Dep.) at 146:21–147:22.                    L.P., 534 F. Supp. 2d 146, 152 (D.D.C. 2008). Courts
                                                                   generally do not impose antitrust liability for such statements,
But those communications, while not hearsay when offered           however, and presume them to be harmless. See Areeda
by APL, are not enough for a reasonable jury to infer that         & Hovenkamp ¶ 782d (“We would ... suggest that such
Matson's MSP-related messaging was anticompetitive. The            claims [for disparagement] should presumably be ignored.”);
D.C. Circuit applies a four-step test to determine whether         Walgreen, 534 F. Supp. 2d at 152 (same). And here, a
conduct is anticompetitive. At step one, the Court must            reasonable jury could not find Matson's statements about
consider whether the monopolist's conduct causes harm to           the MSP program false. Matson's description of APL's MSP
the competitive process, rather than harm to a competitor.         subsidies as “unfair” is an opinion. And APL itself has
Microsoft, 253 F.3d at 58. At step two, the plaintiff must         repeatedly acknowledged that it needs MSP payments to keep
demonstrate that the conduct had the requisite effect. Id.         serving Guam. DSUF ¶ 204. For example, in an email to a
at 58–59. At step three, the defendant must produce a              senior military officer, APL's President and CEO wrote that
procompetitive justification—“a nonpretextual claim that its       “if we don't have MSP to Guam we will not be able to service
conduct is indeed a form of competition on the merits because      it and [APL's] 2 ships will be moved out of the Pacific.”
it involves, for example, greater efficiency or enhanced           DSJ 446. APL's president reiterated the point in a declaration
consumer appeal[.]” Id. at 59. And finally, the plaintiff must     filed in a lawsuit brought by Matson challenging APL's
demonstrate that the anticompetitive harm of the conduct           participation in the MSP: “APL's service in the Guam-Pacific
outweighs the procompetitive benefit. Id.                          trade is only viable with MSP payments. Discontinuation
                                                                   of [MSP] payments to [APL] ... would thus force APL to
APL's MSP subsidy allegations falter at the first step. At         potentially suspend or discontinue its service[.]” Decl. of Eric
most, a jury could infer that Matson made statements in            L. Mensing, Matson v. Dep't of Transp., No. 18-cv-2751
the market about the subsidies that, combined with Matson's        (RDM) (D.D.C. filed June 5, 2020), ECF 43-1.
campaign to eliminate those subsidies, made customers wary
of doing business with APL. But any such wariness is an            In short, Matson was well within safe harbors to opine
injury to a competitor, not an injury to competition that          to customers that APL needed MSP subsidies to continue
the Sherman Act was intended to prevent. As the Ninth              serving Guam and that they might soon end—due in no small
Circuit has colorfully put it, “[c]ompetitors are not required     part to Matson's active litigation and lobbying efforts. Matson
to engage in a lovefest[.]” Honeywell, 836 F.3d at 1184; see       is therefore entitled to summary judgment on APL's claims in
Abcor Corp. v. AM Int'l, Inc., 916 F.2d 924, 927 (4th Cir.         this area.
1990) (“A desire to increase market share or even to drive
a competitor out of business through vigorous competition
on the merits is not sufficient” for antitrust liability.). As        iv. Household Goods Loyalty Program
a result, a firm does not injure the competitive process           APL tries to right the ship by next challenging Matson's
simply by trying to dissuade customers from buying from its        loyalty program for shippers of household goods (HHG)
competitors. After all, firms routinely compete on the merits      as a form of predatory conduct. APL has been somewhat
by criticizing their competitors. Matson's MSP messaging           imprecise as to how this challenge should be framed under
strategy falls well within that time-honored practice. It is not   the antitrust laws. At the motion-to-dismiss stage, the Court
anticompetitive to point out that a competitor's presence in       considered the program as de facto exclusive dealing but gave
the market rests on uncertain footing, or that the competitor      APL leeway to pitch it as an anticompetitive bundle, tie, or
depends on subsidies that another competitor deems unfair.         leveraging arrangement. MTD Op. at 21–24, 25 n.12. In its
See U.S. Football League v. NFL, 634 F. Supp. 1155, 1183           present briefing, APL explicitly rejects “a leveraging cause
(S.D.N.Y. 1986) (“[T]he mere dissemination of unflattering         of action.” APL MSJ at 46 n.32. Accordingly, the Court will
opinion or information about a competitor, unaccompanied by        evaluate the HHG loyalty program under exclusive dealing,
                                                                   tying, and bundling theories.



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            17
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                          Filed 03/21/25           Page 19 of 26 Page
                                                      ID #:20618

First, some factual background: Matson piloted its HHG            the degree of foreclosure required, the range falls somewhere
loyalty program in 2016 to compete with the Pasha Group           between 30% and 50%, with less foreclosure necessary when
—its main competitor on routes between the mainland               the defendant is a monopolist. See Microsoft, 253 F.3d at
United States and Hawaii—for customers who were shipping          70 (“[A] monopolist's use of exclusive contracts, in certain
household goods on those routes. DSUF ¶ 133. Under this           circumstances, may give rise to a § 2 violation even though the
initial program, Matson offered customers who shipped 90%         contracts foreclose less than the roughly 40% or 50% share
of their Hawaii HHG cargo with Matson a 15% discount on           usually required in order to establish a § 1 violation.”). As
that cargo. Id. In 2018, Matson expanded the loyalty program      previously noted, less than 30% foreclosure is “presumptively
following APL's entry into the Guam market. Id. ¶ 134. It         harmless.” Areeda & Hovenkamp ¶ 1821c.
began offering a 20% discount to customers who shipped 90%
of either their Hawaii or Guam HHG cargo with Matson and          The parties agree that Matson's HHG loyalty program has
a 25% discount to customers who shipped 90% of both their         not substantially foreclosed APL from the entire U.S.-Guam
Hawaii and Guam HHG cargo with Matson. See DSJ 403                cargo market. Matson presents undisputed evidence that the
(Matson 2018 HHG Loyalty Program Announcement).                   HHG segment makes up only 4% of the U.S.-Guam market,
                                                                  and “[c]ustomers who ship household goods with Matson
Matson's HHG loyalty program has no term, nor is it               to both Guam and Hawaii were responsible for only 1.3%
mandatory; customers may decline to participate but still ship    of all U.S. West Coast to Guam commerce between 2018
with Matson at published tariff rates. See id. Customers who      and 2022.” DSUF ¶¶ 127, 136; see also DSJ 399 (Matson's
choose to participate but do not meet the requisite volume        expert's workpaper showing that, of the 160,070 containers
requirement simply will not receive the discount. DSJ 33          APL and Matson transported from the United States to Guam
(Lauer Dep.) at 24:6–25:12; see also DSUF ¶ 137. Matson's         between 2016 and 2022, only 6,396 carried HHG cargo);
Chief Operating Officer testified in his deposition that Matson   APL Resp. to DSUF ¶¶ 127, 136 (challenging Matson's
had “no mechanism to ... know” whether a customer is              figures without offering any alternatives of its own); DSJ
actually shipping 90% of their cargo with Matson and that,        411 (Rebuttal Report of Dr. Frederick Warren-Boulton (WB
with the exception of losing eligibility for the discount,        Rebuttal Rpt.)) ¶ 127 (stating only what percentage of APL
customers who do not meet the volume requirement face no          sales HHG shipments comprised). Accordingly, “Matson's
penalty. DSJ 33 (Lauer Dep.) at 16:1–10.                          HHG Loyalty Program's cross-trade discounts affected (and
                                                                  thus theoretically foreclosed) at most 1.3% of APL's alleged
APL's original theory was that this program—by requiring          market.” DSUF ¶ 136; APL MSJ at 48 (appearing to concede
participants to commit 90% of their cargo shipments to            that 1.3% is the appropriate foreclosure figure if the market
Matson to receive the discount—constitutes anticompetitive        consists of all containers between the United States and
exclusive dealing. An exclusive-dealing theory is viable even     Guam). And, given the HHG segment's small share of the
though the challenged arrangement requires less than 100%         overall market, APL's own expert admits that the program
commitment, so long as its “practical effect” is to prevent       could not possibly foreclose APL from the U.S.-Guam
customers from dealing with the plaintiff. Tampa Elec. Co. v.     market. WB Rebuttal Rpt. ¶ 127 (“[N]o one is arguing that
Nashville Coal Co., 365 U.S. 320, 324 (1961); see also ZF         the loyalty program excluded APL from so much of the
Meritor, LLC v. Eaton Corp., 696 F.3d 254, 284 (3d Cir. 2012)     total Guam market as to make its continued participation in
(allowing exclusive dealing claim “although no agreement          the market problematic ... no one has suggested or would
was completely exclusive,” because “the foreclosure that          seriously propose that Matson's HHG bundle program could
resulted was no different than it would be in a market            be sufficient to actually drive APL out of the entire market for
with many customers where a dominant supplier enters into         shipments from the USWC to Guam.”). All of this is fatal to
complete exclusive dealing arrangements with 90% of the           APL's attempt to rest its Section 2 claim on Matson's loyalty
customer base”).                                                  program.

 *22 Still, an exclusive-dealing arrangement violates the         Unable to show substantial foreclosure of its proposed
Sherman Act only if “the court believes it probable that          market, APL takes a different tack: It asserts that the
performance of the contract will foreclose competition in a       proper question is whether the loyalty program substantially
substantial share of the line of commerce affected.” Tampa        foreclosed APL from the “HHG submarket” of “Hawaii/
Elec., 365 U.S. at 327. While the caselaw is imprecise as to      Guam shippers.” APL MSJ at 48. But the law does not support



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            18
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                            Filed 03/21/25          Page 20 of 26 Page
                                                       ID #:20619

this approach. Even if the program substantially foreclosed         purchased a high percentage” of their requirements from the
such a submarket, that would not be enough to prove an              defendant). Therefore, Matson's household goods program
illegal monopoly in the broader U.S.-Guam cargo market that         cannot support an exclusive dealing theory of anticompetitive
APL identifies as the relevant one in this case. See Areeda &       conduct, even in the small HHG submarket that APL
Hovenkamp ¶ 533 (“[T]he ‘market’ for antitrust purposes is          identifies.
the one relevant to the legal issue at hand.”). At most, it might
support a monopoly claim in that submarket. But APL has             Nor can it serve as the basis for a tying or bundling claim.
not even proven substantial foreclosure of the alleged HHG          APL repeatedly charges that Matson “tied” its Hawaii service
submarket.                                                          to its Guam service by “launching a market share discount that
                                                                    ‘bundled’ Hawaii/Guam cargo to foreclose market segments
APL asserts that Matson's loyalty program has “foreclosed           of the Guam market.” APL MSJ at 1. The gist of this argument
[it] from about 90% of the Hawaii/Guam shippers in the              is that the loyalty program is per se anticompetitive because
HHG submarket.” E.g., APL MSJ at 48. Yet it provides                it exploits Matson's market power in the larger U.S.-Hawaii
no actual evidence to support this statistic; instead, APL          market (the tying market) to explicitly or effectively require
reasons that it is “cabin[ed]” into 10% of the Guam household       shippers to use Matson's services in the smaller U.S.-Guam
goods submarket because the structure of the loyalty program        market (the tied market).
requires participants to ship 90% of their cargo with Matson.
See PSUF ¶ 299. But the fact that those customers who choose        The D.C. Circuit has identified four elements of a per se
to participate in the loyalty program would need to ship 90%        tying violation: “(1) [T]he tying and tied goods are two
of their cargo with Matson to get the discount says nothing         separate products; (2) the defendant has market power in the
about what percent of the “HHG submarket” of “Hawaii/               tying product market; (3) the defendant affords consumers
Guam shippers” has actually opted into that program.                no choice but to purchase the tied product from it; and (4)
                                                                    the tying arrangement forecloses a substantial volume of
 *23 APL baldly maintains that “nearly all HHG shippers             commerce.” Microsoft, 253 F.3d at 85. Matson's HHG loyalty
to both Hawaii and Guam do substantially all their Guam             program most obviously fails the third element because APL
business with Matson.” APL MSJ at 47. But nothing in                has not offered evidence that consumers who opted into the
the record substantiates that assertion. What evidence there        Hawaii loyalty program had “no choice but to” ship with
is shows that 46 shippers opted into the program for both           Matson to Guam. Id. To the contrary, it was voluntary. At best
Guam and Hawaii, and, of these 46 shippers, 27 used Matson          for APL, the loyalty program made shipping to Guam with
exclusively. Matson Reply at 22; WB Rebuttal Rpt. ¶ 125.            Matson the financially wise decision for customers who also
Of the remaining 19 customers who opted into the program            shipped to Hawaii.
for Guam and Hawaii, APL's expert found that 18 used
Matson for at least 75% of their Guam shipments. WB                 As a result, it is more appropriate to analyze this program
Rebuttal Rpt. ¶ 125. But APL does not explain how these             as a bundled discount, rather than an explicit tie. But
numbers add up to substantial foreclosure of its purported          that framing does not get APL far. For a bundle to be
Hawaii/Guam HHG submarket. It has not indicated the total           anticompetitive, it must substantially foreclose the relevant
number of shippers in the Hawaii/Guam HHG submarket.                market. See LePage's Inc v. 3M, 324 F.3d 141, 155 (3d
It therefore cannot show what percentage of the market              Cir. 2003) (“The principal anticompetitive effect of bundled
the 46 participants in the program represent. And even if           rebates ... is that when offered by a monopolist they may
those 46 shippers represented 90% of the market, as APL             foreclose portions of the market to a potential competitor who
appears to suggest, it obviously was not foreclosed from            does not manufacture an equally diverse group of products
competing for the 18 program participants that used Matson          and who therefore cannot make a comparable offer.”). APL
for as little as 75% of their business. Cf. Allied Orthopedic       thus encounters the same headwinds in proving substantial
Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d               foreclosure as it did in the exclusive-dealing context. The
991, 996–97 (9th Cir. 2010) (concluding that the market-            U.S.-Guam household good shipments make up only 4% of
share discounts and sole-source agreements at issue were            the relevant market. See DSUF ¶¶ 127, 136; DSJ 399. So
not exclusive dealing because they “did not contractually           even if the loyalty program foreclosed APL from competing
obligate ... customers to purchase anything” but “provided          for customers in that submarket, the foreclosure was nowhere
only for substantial discounts to customers that actually           near “substantial.” 6



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           19
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                          Filed 03/21/25          Page 21 of 26 Page
                                                      ID #:20620

                                                                  agreements applied only to Guam, while the rest covered
Accordingly, under any of these three theories, APL has           Guam and Hawaii. Id.
failed to provide evidence from which a jury could infer that
Matson's HHG loyalty program was anticompetitive.                 As for specific content, several of these MOUs had
                                                                  exclusivity requirements. DSJ 362 (committing Macy's to
                                                                  ship 100% of its ocean cargo to Guam and Hawaii via Matson
   v. Customer Agreements                                         from 2/1/2015 to 1/31/2018); DSJ 363 (committing Office
 *24 Next up, APL challenges Matson's alleged “pursuit            Depot to “route all shipments to Hawaii” and “all shipments
of restrictive agreements ... to lock in key shippers in          to Guam” via Matson from 1/5/2014 to 12/31/2016). Some
response to APL's entry.” APL MSJ at 36. In APL's telling,        were not exclusive but still required significant volume
these agreements are a “predatory and exclusionary means          commitments expressed in terms of percentage shares of the
for a dominant firm to block a Guam entrant.” Id. APL             shipper's business. DSJ 359, 360 (requiring Home Depot to
does not specify how to categorize the agreements at issue.       ship 70% of Hawaii cargo and 94% of Guam cargo during
It states only that they should not be judged under the           an 18-month period). Others had volume discounts based on
“rigid exclusive dealing cause of action elements” because        a minimum number of containers, rather than a percentage
Microsoft instructed courts to focus more broadly on the          of cargo. DSJ 361 (enabling Cost-U-Less to receive a dollar
“competitive impact of the agreements, considering their          incentive per container based on annual shipping volume
importance in the markets.” APL MSJ at 49. And it reasons         from 4/1/2020 to 3/31/2023).
that “[t]he key customers Matson targeted and locked in—
large retailers with consistent cargo moves—are the ‘anchor’      APL contends, based on the opinion of its expert Dr. Warren-
accounts APL sought with importance greater than their            Boulton, that these ten relevant MOUs were exclusionary
market share in a low growth Guam market.” Id. at 49 (citing      because—when viewed alongside the effects of Matson's
PSUF ¶¶ 310–15).                                                  HHG loyalty program and retaliatory threats against shippers
                                                                  —they foreclosed APL from competing in 29% of the U.S.-
As background, Guam is a “tariff trade,” which means that         Guam market. APL MSJ at 28. This contention founders on
companies offering shipping services to Guam generally post       multiple shoals.
their prices, or rates, in publicly filed tariffs. DSUF ¶ 83;
PSUF ¶ 303. That rate is the “list price for shipping a            *25 For starters, the 29% percent figure is outside the
container of a particular commodity from a given origin to        summary judgment record. APL offered the figure for the first
a destination.” WB Rpt. ¶ 125. But carriers can also enter        time in a belated declaration from Dr. Warren-Boulton. See
into memoranda of understanding (MOUs) with customers             id. (citing ECF 146, Ex. A (WB Decl.)). As discussed below,
that offer negotiated rates. See DSUF ¶ 92. Both Matson and       the Court will grant Matson's motion to strike that and other
APL have these MOUs with their Guam customers. Some of            new opinions offered in the declaration as untimely. See infra
the MOUs provide for a discounted rate, or a tariff rate with     Part III.B.2.a. With no other record evidence to support the
a rebate paid to the customer, in exchange for the customer       29% foreclosure figure, APL cannot rely on it to overcome
hitting certain volume thresholds over a designated period. Id.   summary judgment.

During discovery, Matson produced a list of 37 MOUs with          Even if the figure were properly before the Court, the Court
28 different customers between the years of 2013 and 2022.        would discount it because it aggregates the alleged effects of
WB Rpt., Ex. 6; DSUF ¶¶ 110–11. Matson disputes whether           other aspects of Matson's conduct that the Court has found
one of these MOUs (with the retailer Pay-Less) was ever           not to be anticompetitive or exclusionary, as explained above.
finalized, but the parties agree that at least 36 of the MOUs     See supra Part III.A.2.a. Any foreclosure owing to the MOUs
were effective. 7 See WB Rpt., Ex. 6. APL focuses on ten          would have to stand on its own.
agreements that covered Guam and were in effect when it
entered the market in 2015 or formed after its entry. See id.;    Finally, Dr. Warren-Boulton's foreclosure estimate is inflated
Oral Arg. Tr. at 47–48; APL Resp. to DSUF ¶ 108. These            when assessed relative to the entire U.S.-Guam market. APL's
agreements were with retailers 3M, Cost.U.Less, Haworth,          proposed market includes military and other government
Home Depot, Macy's, Office Depot, Pay-Less, PVH, Ross             cargo. See WB Rpt. ¶¶ 8, 10; Oral Arg. Tr. 45–47. But
Stores, and Xerox. WB Rpt., Ex. 6. The Pay-Less and PVH           Dr. Warren-Boulton's 29% foreclosure estimate admittedly



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          20
 Case 8:23-cv-00268-WLH-DFM                    Document 196-1           Filed 03/21/25
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                                                Page 22 of 26 Page
                                                    ID #:20621

excludes government customers from the market. Oral Arg.        Home Depot documents from January 2017 noting that “[t]he
Tr. 47. If government shipping volume is added to the           new service via APL has a 7 day longer transit time ... versus
denominator of the foreclosure ratio, the percentage of         Matson's Hawaii to Guam service, but is a ~40% reduction in
the market impacted by the MOUs, loyalty program, and           rates over existing service ... [and] [d]ue to the new service
threats—none of which are alleged to implicate government       and extended lead time, only 10% of the Guam volume will
customers—necessarily falls. Based on the Court's math,         be awarded to APL”).
if government cargo comprises about 10% to 20% of
the overall market, as the parties represented at oral          In sum, APL has failed to provide evidence that Matson's
argument, then Dr. Warren-Boulton's foreclosure figure          MOUs with Guam customers substantially foreclosed APL
would drop to somewhere between 23% and 26% of                  from accessing the market or caused other anticompetitive
the total market. Oral Arg. Tr. 20–21, 40–41. That is           harm. Therefore, it has not created a genuine issue of material
well below the 30% threshold courts have established for        fact as to whether Matson engaged in exclusionary conduct
presumptively harmless foreclosure. 8 Accordingly, APL's        by entering into the challenged MOUs.
foreclosure estimate cannot support a finding that Matson
engaged in anticompetitive conduct even if the Court were to
                                                                   vi. Slot-Charter Proposals
consider it.
                                                                Finally, APL challenges Matson's proposed “slot-charter”
                                                                agreements as an attempt to force APL out of the U.S.-
APL launches other lines of attack on the MOUs as well.
                                                                Guam cargo market. APL MSJ at 44–46. As explained
It gestures at a tying or bundling theory by suggesting that
                                                                more fully below, Matson on several occasions offered APL
the MOUs were part of Matson's strategy of “conditioning
                                                                space for its cargo on Matson's ships bound for Guam. APL
its Hawaii service, or Guam shippers’ ‘must have’ cargo,
                                                                says these proposals were a disguised attempt to choke it
on shipping with Matson to Guam.” APL MSJ at 48. But
                                                                out of the market. Matson and APL never reached a slot-
it does not point to any specific MOUs that, by their terms,
                                                                charter agreement, so this allegation is only relevant in the
conditioned an agreement for shipments to Hawaii on an
                                                                context of APL's attempted-monopolization claim, a point
agreement for shipments to Guam. Nor does APL draw an
                                                                APL effectively concedes. See APL MSJ at 46 (citing only
explicit connection between the MOUs and Matson's HHG
                                                                attempt-to-monopolize cases in support of the proposition
loyalty program, i.e., to suggest that a shipper agreed to an
                                                                that unconsummated proposals can be predatory). As a result,
MOU as part of its participation in the loyalty program.
                                                                the Court will consider Matson's slot-charter proposals solely
                                                                in that context.
APL also repeatedly contends that the agreements “locked
in” key shippers, e.g., APL MSJ at 50, but the evidence
suggests the opposite: None of these agreements prevented
customers from considering other options. See, e.g., DSJ 364                                ***
(pre-APL-entry MOU with Ross Stores that was terminable
upon 30 days’ prior notice); DSJ 387 (Declaration of Mark       APL alleged six anticompetitive practices but failed to offer
Negri, Macy's Director of Transportation) (“In the shipping     sufficient admissible evidence that any was exclusionary or
context, Macy's does not and would not lock itself into         caused harm to competition. Because APL has not created
a longterm exclusive agreement that forecloses alternative      a genuine issue of material fact regarding anticompetitive
options, especially those at ‘substantially lower rates.’ ”).   conduct, Matson is entitled to summary judgment on APL's
In fact, APL itself entered into several two- to three-term     monopolization claim.
contracts with Guam shippers—including some of the same
shippers that had MOUs with Matson, like Cost-U-Less. DSJ
                                                                  3. Attempted Monopolization
41 (Deposition of Daniel Stefanik, APL's Pricing Manager for
                                                                Voyaging on to APL's attempted-monopolization claim,
Guam) at 267, 288:8–20 (testifying that APL had MOUs with
                                                                APL must show that Matson “(1) engaged in predatory
discounts with Dewitt and Capstone Coleman); WB Rpt. ¶
                                                                or anticompetitive conduct with (2) a specific intent to
152 n.157 (Cost-U-Less).
                                                                monopolize.” Microsoft, 253 F.3d at 80 (quoting Spectrum
                                                                Sports, Inc., 506 U.S. at 456).
 *26 Nor were the MOUs the sole reason why some shippers
continued to do business with Matson. See DSJ 394 (internal



               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                         21
 Case 8:23-cv-00268-WLH-DFM                       Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                            Filed 03/21/25          Page 23 of 26 Page
                                                       ID #:20622

                                                                    APL nevertheless characterizes Matson's specific proposals
   a. Anticompetitive Conduct                                       as “ridiculous” because of their volume caps and lengths, as
The anticompetitive conduct alleged to support APL's                well as the costs they would impose (particularly via the take-
attempted-monopolization claim is largely the same as that          or-pay provision in the second proposal). PSUF ¶ 275. These
alleged for its monopolization claim, see APL MSJ at 51,            features, APL says, indicate that the actual purpose behind
so the claim runs aground for the same reasons. The one             the proposals was to force APL out of Guam. But APL's only
additional form of potentially anticompetitive conduct under        “proof” of this intent are opinions expressed in deposition
this claim is Matson's various slot-charter proposals. Under        testimony by Ed Aldridge, the former president of CMA
a slot-charter agreement, one shipping company purchases            CGM North America and APL North America, who was
cargo space (or “slots”) on another carrier's vessel. At issue      APL's point of contact for these proposals. See PSUF ¶¶ 269–
here are three offers Matson made to APL for slots on               87 (quoting DSJ 86). Nothing in the agreements themselves—
Matson's ships from the U.S. west coast to Guam. First, in          or any other record evidence—reveals such an intent. To the
April 2017, Matson proposed a 90-day agreement for 90               contrary, the offers look like commercial arrangements APL
weekly slots. DSJ 463. This agreement would be subject              felt free to take or leave. Indeed, APL never got on board.
to renewal at any time and could be cancelled on 30 days’
notice. Id. It capped the number of slots from certain ports        APL maintains that “unconsummated proposals” can still
(e.g., a maximum of 60 from Los Angeles). Id. Next, in              be predatory. APL MSJ at 45–46. True, a defendant's offer
October 2018, Matson offered APL a three-year contract for          to “form[ ] ... [a] cartel[ ]” violates section 2 “when the
175 weekly slots, also with the number of slots from some           unlawful scheme[ ] [is] proposed” to “deter the formation of
ports capped. DSJ 473. One hundred twenty-five of these slots       monopolies at their outset.” United States v. Am. Airlines,
would be “take or pay,” meaning if APL did not end up using         Inc., 743 F.2d 1114, 1122 (5th Cir. 1984). But at least one
the slot, it still would have to pay a fee. Id. at 4. Matson made   court has concluded that “a mere offer to enter into a business
a final offer in November 2019: 150 weekly westbound slots          deal—absent something more, like a threat that might affect
for a five-year term, with one year's notice of non-renewal by      the offeree's conduct—does not amount to anticompetitive
either party. DSJ 474.                                              conduct.” 3Shape Trios A/S v. Align Tech., Inc., No. 18-
                                                                    cv-1332-LPS, 2019 WL 3824209, at *6 (D. Del. Aug. 15,
 *27 On Matson's telling, these proposals were part of an           2019). The Court has rejected APL's threats arguments. As a
extensive back-and-forth negotiation with a keenly interested       result, APL has not provided actual evidence from which a
APL about the possibility of cooperation in Guam. DSUF              jury could infer that Matson tried to improperly coerce it into
¶¶ 255–85. APL, by contrast, paints the discussions as a            accepting these proposals.
concerted campaign by Matson to “cap and control APL” and
force the “withdrawal of APL's vessels and it[s] service.” APL      APL thus has not created a question of fact on whether
MSJ at 44.                                                          Matson's slot-charter proposals were intended to force APL
                                                                    out of the market or were otherwise exclusionary. As a result,
APL does not identify any legal authority holding that slot         it has not supported its attempted-monopolization claim with
proposals are inherently anticompetitive. Indeed, Rodolph           evidence of anticompetitive conduct.
Saade, the Chairman and Chief Executive Officer of CMA
CGM, the global shipping and logistics conglomerate that
owns APL, testified at his deposition that CMA CGM had                 b. Specific Intent to Monopolize
“around 50 to 75” slot-charter agreements with other shipping       Moving to the second element of an attempt-to-monopolize
lines. DSJ 71 at 15:5–6. Saade explained such arrangements          claim, “[s]pecific intent may be inferred from the defendant's
could be “beneficial” because they allow carriers “to deploy        anticompetitive practices.” M & M Med. Supplies & Serv.,
bigger ships to benefit from economics and offer a better           Inc. v. Pleasant Valley Hosp., Inc., 981 F.2d 160, 166 (4th
service to customers.” Id. at 27:6–9. And he acknowledged           Cir. 1992). Because the evidence of Matson's anticompetitive
having been “interested in reaching an agreement” with              practices is lacking, it cannot anchor an inference of specific
Matson. Id. at 33:1–3. These admissions, and CMA CGA's              intent to monopolize. And APL does not proffer independent
considerable use of slot-charter agreements itself, strongly        evidence of specific intent.
suggest they are not anticompetitive in the normal course.

                                                                      c. Dangerous Probability


                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            22
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                          Filed 03/21/25           Page 24 of 26 Page
                                                      ID #:20623

 *28 The third prong of an attempted-monopolization claim
—dangerous probability of achieving monopoly power—               Dr. Warren-Boulton's declaration violates this prohibition.
is informed by the evidence of the first two prongs.              Expert discovery closed February 1, 2024, see ECF 68
Thus, even if Matson's market share is enough to suggest          (Amended Scheduling Order), but the declaration was not
dangerous probability, without evidence of the other two          submitted until April 26, 2024. While styled as a “respon[se]
elements, APL's attempted-monopolization claim cannot             to certain assertions made by” Matson in its motion to
survive summary judgment. See id. at 168 (“[C]laims               exclude his opinions, WB Decl. ¶ 4, the declaration contains
involving greater than 50% share should be treated as             “new opinions,” Artis, 307 F.R.D. at 22. Most obvious,
attempts at monopolization when the other elements for            it marks the first time Dr. Warren-Boulton estimates what
attempted monopolization are also satisfied.” (emphasis           share of the U.S.-Guam market was foreclosed by Matson's
added)). And the fact that Matson's market share fell             allegedly anticompetitive conduct. Therefore, APL does not
after APL's entry undercuts any dangerous probability             (and cannot) argue that the declaration was “for the narrow
of monopolization. Id. (“A rising share may show more             purpose of correcting inaccuracies or adding information that
probability of success than a falling share.”); WB Rpt. ¶         was not available at the time of initial report” so as to excuse
63 fig. 19 (showing that, after APL entered the market in         its tardiness under Federal Rule of Civil Procedure 26(e). Id.
2015, Matson's share decreased from 100% in 2014 to 74%           As a result, the foreclosure figures in the declaration must be
in 2018).                                                         stricken.

The Court will, accordingly, also grant summary judgment to
Matson on APL's attempted-monopolization claim.                      b. Motion to Strike Matson's Declarations
                                                                  APL seeks to strike several declarations offered by Matson in
                                                                  which various customers attest that Matson never threatened
  B. Remaining Motions                                            or retaliated against them. See ECF 153. APL argues that
                                                                  the declarations should be stricken because Matson failed
   1. Daubert Motions                                             to disclose them in accordance with the discovery rules
The Court will deny as moot the parties’ dueling Daubert          and the parties’ agreed discovery protocols. Id. at 4. APL
motions to exclude the opinions and testimony of the other        also argues that the declarations are inadmissible because
side's expert. Even if the challenged opinions of APL's expert,   the declarants lack personal knowledge and/or cannot be
Dr. Warren-Boulton, were credited, they would not change          compelled to testify at trial because they reside outside the
the outcome. And the Court did not rely on the opinions of        Court's jurisdiction. Id.
Matson's expert, Dr. Ashley Langer, other than those that
rebut Dr. Warren-Boulton's non-dispositive opinions. As a         The Court will deny APL's motion as moot because it did not
result, neither expert's opinions are integral to the Court's     rely on Matson's declarations except to point out that they
resolution of the summary judgment motions.                       would not change the summary judgment calculus even if
                                                                  they were credited. See supra at 32.

  2. Motions to Strike
                                                                    IV. Conclusion
   a. Motion to Strike Dr. Warren-Boulton's Declaration
                                                                   *29 With APL's allegations gone by the board, the Court
As presaged above, the Court will grant Matson's motion to
                                                                  grants summary judgment to Matson and denies APL's cross-
strike the new opinions in APL's belated expert declaration.
                                                                  motion. It also denies the parties’ remaining motions as
“A party must make [expert] disclosures at the times and
                                                                  moot, save for Matson's motion to strike Dr. Warren-Boulton's
in the sequence that the court orders.” Artis v. Yellen, 307
                                                                  rebuttal declaration, which the Court grants.
F.R.D. 13, 22 (D.D.C. 2014) (quoting Fed. R. Civ. P. 26(a)
(2)(D)). “The purpose of that Rule is to ‘prevent[ ] experts
                                                                  Finally, the Court previously permitted the parties to file
from lying in wait to express new opinions at the last minute,
                                                                  documents provisionally under seal. See Minute Order
thereby denying the opposing party the opportunity to depose
                                                                  of April 29, 2024. Parts of this opinion rely on those
the expert on the new information or closely examine the
                                                                  provisionally sealed documents. But given that the parties
expert's new testimony.’ ” Id. (quoting Minebea Co. v. Papst,
                                                                  consented to a public hearing on their cross-motions where
231 F.R.D. 3, 5 (D.D.C. 2005)).
                                                                  some of the sealed information was discussed, the Court does


               © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            23
 Case 8:23-cv-00268-WLH-DFM                      Document 196-1
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                           Filed 03/21/25          Page 25 of 26 Page
                                                      ID #:20624

                                                                   in the unsealing analysis is “the purpose[ ] for which the
not expect that much, if any, of the opinion will need to be
                                                                   documents were introduced.” (capitalization modified)). If
sealed. Out of an abundance of caution, however, the Court
                                                                   they cannot reach agreement, the Court will direct the parties
will release this opinion temporarily under seal and direct the
                                                                   to brief the issue.
parties to meet and confer and propose any targeted redactions
within seven days, after which the Court will issue a public
                                                                   A separate Order follows.
version.

                                                                   Date: March 11, 2025
The Court will also direct the parties meet and confer as to
whether any of the provisionally sealed record materials may
be unsealed, especially in light of the Court's reliance on them   All Citations
in this opinion. See United States v. Hubbard, 650 F.2d 293,
321 (D.C. Cir. 1980) (“The single most important element”          Slip Copy, 2025 WL 870383




                                                           Footnotes


1      For example, Matson's vessels can travel from Los Angeles to Guam four to eight days faster than APL's.
       WB Rpt. ¶ 22, tbl.1. And while, between 2016 and 2021, Matson's vessels arrived on time between 70% and
       100% of the time, APL's ships were late just as often. See id. ¶ 25 fig.3.

2      In some business records, Matson focuses specifically on the westbound portion of the U.S.-Guam market
       because westbound containers make up the bulk of that market. See DSJ 11 (Matson 30(b)(6) Dep.) at
       135:8–16 (“For Guam,” eastbound shipments are “a small fraction.”); PSJ 15 at 40 (recording that Matson's
       2021 Guam trade comprised 19,589 westbound containers and 925 eastbound containers). Likewise, Matson
       ships some cargo through Guam to the nearby island of Saipan, but this freight also represents a small share
       of the market. PSJ 20 at 3–4 (documenting that, in 2016, Matson's sales for Guam represented 88% of its
       revenue from both islands). But the fact that, in some contexts, Matson viewed the market more narrowly
       or broadly is insufficient to defeat APL's evidence that, generally, Matson saw the market as comprising all
       routes between the mainland United States and Guam. See PSJ 15 at 40 (treating westbound and eastbound
       containers as part of one Guam trade).

3      Matson moves to exclude Dr. Warren-Boulton's opinions on Matson's monopoly power to the extent they are
       based on allegations of pricing above competitive levels. Matson Daubert at 37–40. But it does not dispute
       the evidence of Matson's market share cited in his report.

4      Even aggregating all the alleged conduct might not be enough to raise a genuine dispute of material fact
       over whether Matson's conduct was exclusionary. For certain types of exclusionary conduct, a plaintiff must
       show that the challenged conduct substantially foreclosed it from the market. New York v. Meta Platforms,
       Inc., 66 F.4th 288, 304 (D.C. Cir. 2023). Courts presume foreclosure of less than 30% of the market to be
       insubstantial. See In re EpiPen, 44 F.4th at 988 (rejecting substantial foreclosure where defendant foreclosed
       31% of the market); Sterling Merchandising, Inc. v. Nestle, S.A., 656 F.3d 112 (1st Cir. 2011) (“[F]oreclosure
       levels are unlikely to be of concern where they are less than 30 or 40 percent[.]”) (quoting Stop & Shop
       Supermarket Co. v. Blue Cross & Blue Shield of R.I., 373 F.3d 57, 68 (1st Cir. 2004)). As will be discussed
       later, APL's own expert opines that Matson's alleged conduct affected at most 29% of shipping volumes
       between the United States and Guam. ECF 146, Ex. A (WB Decl.) ¶ 84. That figure, however, excludes
       shipments for government customers, even though government shipping is part of APL's proposed market.
       See Oral Arg. Tr. 47:12–17 (Dr. Warren-Boulton agreeing that he “excluded the government portion of the
       market ... in arriving at that 29 percent [figure]”). When government shipping, which makes up about 10%



                © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          24
Case 8:23-cv-00268-WLH-DFM                   Document 196-1            Filed 03/21/25
AMERICAN PRESIDENT LINES, LLC, et al., Plaintiffs, v...., Slip Copy (2025)
                                                                                               Page 26 of 26 Page
                                                  ID #:20625

       to 20% of Guam shipping, is included in the foreclosure ratio, it falls even further below the 30% threshold.
       See infra Part III.A.2.c.iv; Oral Arg. Tr. 20:12–17. That said, it is unclear whether substantial foreclosure is
       required for each form of conduct alleged by APL. To the extent that it is, APL has not introduced evidence
       from which a jury could infer that Matson substantially foreclosed it from competing in the U.S.-Guam market.

5      Even if the evidence regarding Home Depot were admissible, it would not be enough for APL to survive
       summary judgment. For the reasons discussed later, APL would have no other admissible evidence that
       Matson's conduct was anticompetitive. And APL does not offer any evidence that Matson's alleged comments
       to Home Depot foreclosed it from a sufficiently large segment of the Guam market to impose Section 2 liability.

6      Matson further asserts that a plaintiff seeking to establish an anticompetitive bundling claim must show that
       lower prices resulting from the challenged arrangement are below the defendant's costs. At least one circuit
       court has rejected this proposition. See LePage's, 324 F.3d at 152 (holding that Supreme Court precedent
       did not “adopt[ ] the proposition that a monopolist does not violate § 2 unless it sells below cost”). Regardless,
       the Court need not reach this issue because APL has not shown substantial foreclosure.

7      APL argues that these MOUs are not exhaustive because Matson did not produce others reflected in an
       internal list of contracts provided in discovery. PSUF ¶ 322 (first citing PSJ 163; and then citing PSJ 144).
       Matson responds that APL “points to a list of targets, not, as APL asserts, a catalogue of ‘MOUs in effect.’ ”
       Matson Reply at 25. Regardless, APL has neither moved to compel production of these purportedly missing
       MOUs nor alleged that their omission supports an adverse inference as to their existence or content. As a
       result, it has not introduced contradictory evidence of other MOUs.

8      APL's 29% figure is obviously below the 30% threshold as well. Yet the Court hesitates to conclude that such
       a near miss could never constitute substantial foreclosure under any circumstances.



End of Document                                           © 2025 Thomson Reuters. No claim to original U.S. Government Works.




              © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                        25
